  Case 4:16-cv-00133-O Document 13 Filed 02/04/17         Page 1 of 83 PageID 174



                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 John Hummel,

 Petitioner,                                                  No. 4-16-CV-00133-O

 v.                                                             Death Penalty Case

 Lorie Davis, Director, Texas Department of
 Criminal Justice, Correctional Institutions
 Division,

 Respondent




                           Petition for Writ of Habeas Corpus
                                  under 28 U.S.C. § 2254



                                   Appendix


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Attorney for Petitioner                        Attorney for Petitioner
(Lead counsel of record)
Case 4:16-cv-00133-O Document 13 Filed 02/04/17             Page 2 of 83 PageID 175



                 Appendix (with corresponding Bates page numbers)
   Capital Judgment and sentence (App. 0001-0004)
   Indictment (original) (App. 0005-0006)
   Initial Application for Writ of Habeas Corpus (App. 0007-0192)
   Affidavit of Dr. Susan Hardesty (App. 0193-0212)
   Affidavit of Laura Smith (App. 0213-0250)
   Affidavit of Haila Adams (App. 0251-0253)
   Affidavit of Cody Bell (App. 00254-0255)
   Affidavit of Stephanie Bennett (App. 0256-0258)
   Affidavit of Chad Brown (App. 0259-0264)
   Affidavit of Efrain Chaidez (App. 0265-0267)
   Affidavit of Lance Dupre (App. 0268-0269)
   Affidavit of Fred Emmer (App. 0270-0272)
   Affidavit of Shana Fowler (App. 0273-0274)
   Affidavit of George Goodson (App. 0275-0276)
   Affidavit of Thomas Hamilton (App. 0277-0281)
   Affidavit of Brian Jeter (App. 0282-0283)
   Affidavit of Wayne Matthias (App. 0284-0286)
   Affidavit of Christy Pack (App. 0287-0288)
   Affidavit of Christopher Paris (App. 0289-0292)
   Affidavit of Tonya Paris (App. 0293-294)
   Affidavit of Derrick Parris (0295-0298)
   Affidavit of Joseph Patterson (App. 0299-0300)
   Affidavit of Tommy Rigmaiden (App. 0301-0303)
   Affidavit of Rory Thomas (App. 0304-0305)
   Affidavit of Juror Nathaniel Davis (App. 0306-0307)
   Border Patrol Documents (App. 0308-0316)
   Phone Transcripts (App. 0317-0335)
   San Diego Medical Records (App. 0336-0406)
   Tarrant County Policy for Dress Code (App. 0407-0414)
   Tarrant County Policy for High Risk Inmates (App. 0415-0422)
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17                 Page 3 of 83 PageID 176



      Tarrant County Sherriff’s Office letter (App. 0423-0424)
      Petitioner’s Military Records (App. 0425-0436)
      Petitioner’s Employment Records (App. 0437-0457)
      Excerpts from Appellate Brief (App. 0458-0465)
      Findings of Fact, Conclusions of Law, Recommendations and Order (App. 0466-0603)
      Ex parte Hummel, WR-81,578-01 (Tex. Crim. App., Feb. 10, 2016) (per curium, Alcala,
       J. dissenting) (App. 0604-0605)
      SCOTUS docket for 15-9284, Hummel v. Texas, 137 S.Ct. 63, 2016 U.S. LEXIS
       4742 (Oct. 3, 2016) (App. 0606)
      Affidavit of trial counsel Larry Moore (App. 0607-0636)
      Affidavit of appellate counsel John Stickels (App. 0637-0641)
      Affidavit of Robert Gill (App. 0642-0644)
      Affidavit of trial counsel Fred Cummings (App. 0645-0654)
      Tarrant County Jail classification records for Petitioner from December 31, 2009 to
       March 29, 2010 and September 29, 2010 to April 26, 2011 (App. 0655-0669)
      Affidavit of Dr. Susan Hardesty (App. 0670-0673)
      Affidavit of Laura Smith Sovine (App. 0674-0678)
      Excerpts of Tarrant County Jail Records (App. 0679-0723)
      Excerpts from John Hummel Myspace Profile Information (App. 0724-0734)
      Excerpt from Military Records (App. 0735)
      Supplemental Affidavit of Larry Moore (App. 0736-0746)
      Affidavit of J. Randall Price (App. 0747-0758)
      Allen, J., Mentalizing in the Developmental and Treatment of Attachment Trauma,
       Karnac (2013). (App. 0759-1114)
      DSM-5 personality disorders section (App. 1115-1332)

                                      Certificate of Service

        I certify that on February 4, 2017, this document was served upon all parties and attorneys
of record via the ECF filing system.



                                             /s/ Michael Mowla
                                             Michael Mowla

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                        Case 4:16-cv-00133-O Document 13 Filed 02/04/17
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                                                                  cAsENO. 1r84294D


                                   THE STATEOF TEXAS                           $                  IN TT{E 432Nd
                                                                               $
                                                 VS                            $             DISTRICT COURT OF
                                                                               $
                                                                               c
     I
                                 JOHNMLLIAMHUMMEL                              s          TARRA}{T COT]NTY, TEXAS
     J




                                                            CAPITAL JUDGMENT


                               On June 13, 20ll this cause was called for          tial   and tbe State by her C¡iminal.Disùict

         I            Attorney, Assistanrs MILES BRISSETTE and ROBERT GILL and the attomeys for the Defe'ndanq
     irl

                      JOHN WILLIAM HUMMEL, Honorable FRED CUMMINCS,                                 mnnV M.         MOORE      and


                      PAMEIA FERNANDEZ, announced ready for tial; and ttro Strle having made Inown that it
                      world scok the Deafh Penaity in this oause and the Defend¡nt having been heretolore a¡raiFed;

                      and,   it appearing to the Court that the Defe.ndant was mentally competent and the Defendant having

                      been   chaged in the Indictment with Capital Murder; thereupon, a Jury of good anil lau¡frrl men and

                      women,    to-wiÍ   Juror   No. 100, Forepersor¡ and cleven otbers, rilas duly       selected, impaneled.and

                      swom as the law directs, and the said Criminat Districl Attomey read to the Juryr Count One,

                      Pa¡agræh Two and Paragraph Three of the Indictnent herei¡l and the Defendant having stood

                  .   mute, and counsel for the Defendant having entered a plea of           Not Guiþ to Count One, Fatagrapb

                      Two, and Pæagraph Three on behalfofthe Defendan! offhE IndicÍnent, hereto; and the Jr:ry, afrs

                      hearing the evidence, and being duly oharged by the Court, retired to consider its verdict, and afrer

                      d.eliberation, retumed     i¡to open couÉ   on the 28th day of June, 201 1, the   following verdict to-wit:




                                                                    VERDICTFORM
                                'We
                                    the Jury, find the Defendanl JOHN \VILLI.AM HUMMEL, guilty of the offense
                                of Capital Mudcr, as charged in the irldictnent
,ù



                                                                           Signedl   llurorNø    100
                                                                           Foreperson ofthe Jury




                                The parties announced ready for the second phase ofthe trial, and tbe Jury, having heard all

                      ihe evidence, and boing duly charged by the Colrt, retired to consider its vcrdicq and affer due

                      deliberation, reh¡med into open court, on tlie 28th day of June, 2011, their answers to the following

                       Special [ssues, and thei¡ verdict:




                                                                                   App. 0001                                                     747
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                     Case 4:16-cv-00133-O Document 13 Filed 02/04/17
                                                                                                       o                        Page 5 of 83 PageID 178

                                                                   SPECIAL ISSUE NO.           1



                           Do you find from the svidence beyond a teasonable doubt that there is a probabifity
     J                     that the Defendant would commit criminal acts of violence that would constitut€ a
                           continuing tbreat to sooiet/

                           In yow verdict you will
                           ans\¡vef
                                      t'Yest'
                                                or'lilot'                             Answer:           YES



                                                                   SPECIALISSUENO.2


                           Taking into consideration alt of the evideric€, including the circumstancæs of tbe
                           offense, tl¡e Defendant's character and background, and the personal moial
           I               culpabilþ of the Defendant, do you find tl¡at there is a sufficient mitigating
                           circumstance or circumstances to war¡ant that a sentence of life imprisonment rather
                           than a dealh sentense be imposed?

                           In you venliot you,will
                           oDswer t'Yes" or t'No"                                     Answe¡:           NO


                                                                     VERDICTFORM
               I

           d                We, the Jury, baving unanimously agreed upon tle answel to tfe foregoing issues do hereby
                   return the same into court a.s or¡r verdict.

                                                                            Signed; .'lutarNo, 100
                                                                           Foreperson ofthe Jury


                           After an individual poll of the Jurors, the Court duly accepted the verdict and ORDERED
                   the same to be filed.

                           The Jury having answered Special Issue One !'YES'I and Special Issue Two, 'NO", it being

                   mandatory tlat the punishment be deatl¡ the Cout assessed the.pr:nishment.at Death.                      .




                           The Defendan! JOIIN WILLIAM HUMMEL, was asked by the Court" uùeüer he had

                   anything to say why scntengç should not be pronounced against him, and the Defendant answered

                   nothing in bar thereof;

I                          The Court proceeded, in the presence of the said Defendant JOHN                      MLLIAM HUMMEL,
üì



                   and his cor¡nsel    ofrecord, to pronounce sentçnçe against him æ follows:

                           IT IS THEREFORE TIIE ORDE& JUDGMENT.A¡{D D.ECREE OF THIS COURT that
                   you be remanded to the custoily of the Sheriff of Tarr¿nt County, Texas, delivered to                                 the

                   In¡'titutional Division of the Texas Deparknent of Criminal Justice, where you shall be continuously

                   confi¡ed until 6:00 p.lru on a date to be detennined by this Court upon a mandate of affimcance

      I            issued by the Texæ Court of              Crininal Appeals at the   state   penitentiary at Huntsville.
     ,.0



                           You shall be caused to die by intravenous injection ofa substance'or substances in                      a   lethal

                   quantity sufücient to cause your death until you are dead. Said execution proc€dure to be

                   detennined and to be supervised by the Director of the Institutional Division of the Texas

                   Departrnent of Cdrninal Justice.




                                                                                      App. 0002                                                           748
         Case 4:16-cv-00133-O Document 13 Filed 02/04/17
                                   o                                           o                  Page 6 of 83 PageID 179

               The Cle,rk of this Court is ordered to issue to the Di¡estor of tle Institutional Division of the

        Texas Deparhent of Criminal Justice a death wa¡rant in accordance with this sente'nce.




                                                       HON. RUBEN                      JR,
                                                       PRESIDINGJUDGE           .


                                                       432NDDISTRICT COURT
                                                       TARRAIIIT COUNTY, TÐ(AS
        June 29. 2011
        Date Siped




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J




t   I




                                                               App. 0003                                                    749
                    Case 4:16-cv-00133-O Document 13 Filed 02/04/17                 Page 7 of 83 PageID 180
                                    Ç*rNo, 1184294D
                                                           "o*torÇ'
                                       INCDENT NO.ÆBN: 9047565932


      Tnu Sr¿rn o[ TExAs                                  IN TEE 482ND DÍSTRICT COT¡NI

      v.

      JOHNWILLIAM HUMMEL                                  TAREANT Coumrr,TErAs

      Sr.41E ID No,: fl(08ó42212                          Date¡ JUN2gzoll
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                                   JUDGMENTT AND SENTENCE
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                  Case 4:16-cv-00133-O
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                                       Document 13 Filed 02/04/17                          Page 8 of 83 PageID 181
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f

            NAME JOHN WILLIAM HUMMEL                                  OFFENSE MURDER - CAPITAL MULTIPLE
            ADDRESS 600 LITTLE SCHOOL, #RD                            DATE         1A17.É.009

                          KENNEDALE TX 76060         '                I.P. JOY HUMMEL, CLYDE BEDFORD

            RACE   W    SEX   M    AGE   34   DOB   111411975

            CASENO. 1184294         DATEFILED            1212212009   AGENCY Kennedale PD

            cID   NO.   0'163423                                      oFFENSENO. 0900017546
                                                                      coURT 432nd District Court


                                                    INDICT\4ENT NO.   11   84294



            IN THE NAME AND BY AUTHORITY OF TT{E STATE OF TEXAS:
            THE GA.Á,NÐ JURORS OFTARRANT COI]NTY, TEXÄS,
    J d . duly
    ¡

                                                                                                                    the
                 elected, hied, empaneled, swonr, and charged to inquire of offenses committed in Tanant Counfy, in
            State of Texas, upon their oaths do present in and to the
                                                                                                  COURT
                                                                                   39SIh DISTRICT
            of said County that JOFIN WILLIAM HUMMEL, hereinafter called Defendant, in the County of Tanant and           Sf

            aforesaid, on ôr about the lTth day of Decembçr 201 9, did


            TI{EN AND THERE        KNOWIN                                                                            BY
            srmr<Ñc utr¿ wrrg A          BAT                                                                         F    /
            INDIVIDUAL, JOY TTTJMMEL
            COMMITTED DURTNG TTIE SAME CRIMINAI TRANSACTION'

            PARAGRAPH T\trO: AND IT IS FURTHER PRESENTED IN AI'ID TO SATD COLIRT'THAT THE
        .   DEFENDANT IN THE colrNrv ofrÁnr,e¡lraND srATE AFoRESAID oN oR ABour rHE 17TH
            DAY OF DECEMBER,
            iNDIVIDUAL, CLYDE
            K}IO\ryINGLY CA{.ISE
            DAGGER AND BOTH
            TRANSACTION,

            PA*.AGRAPH THREE; AND ]T IS FTIRTFTER.PRESENTED.IN AND TÖ SAID COIJRT THAT THE
            DEFENDANT IN THE COIINTY OF TARRANT AND STATE AFORESAID ON ORABOUT TTIE 177
            DAy oF DECÉfu¡ËR" ãõos, DrD rgnñ Á¡rp rHERE KNowINcLY cAUSE THE DEATH oF AN
            iNDTVIDUAT,CLyoÉ BEDFORD, ey stRrKn'tc Htv v/IT! AB_AT_AND DiD THEN AND THERE
            KNOWINGLY CAUSE THE DEATH OF AN INDIVIDUAL, JOY HIIMMEL, BY STABBING }TER WI
            SWORD AND BOTH MURDERS WERE COMMITTED DURINC THE SAME CRIMINAL TRANSAC
J




                                                                App. 0005                                                      2
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                  Case 4:16-cv-00133-O Document 13 Filed 02/04/17
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                                                                               Page 9 of 83 PageID 182


               NAME    JOHN WILLIAM HUMMEL
               CASENO. 1184294
               PAGE    2of   2


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               ACAINST T}IE PEACE AND DIGNITY OF T}IE STATE.


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                         Crimin¿l District Attomey             Forenran   oflho Grand Jury
                         Tarrant Counfy, Texas
                         INDICTMENT. ORIGINAL

                                                     App. 0006                                                                            3
 Case 4:16-cv-00133-O Document 13 Filed 02/04/17   Page 10 of 83 PageID 183



             IN THE 432nd JUDICIAL DISTRICT COURT
                   TARRANT COUNTY, TEXAS         li

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                                                                .h       ·~ouffrf],s.,.
                                 )     Trial Cause No. lt!4.     '4v {) 5        , 1'"f2.{]/-Sf?l(
EX PARTE                         )     1184294D        Sy        ~   .       20tJ         s
JOHN WILLIAM HUMMEL,             )                                   .     ~

         APPLICANT               )
                                 )
                                 )

     INITIAL APPLICATION FOR WRIT OF HABEAS CORPUS
   (FILED PURSUANT TO TEX. CODE CRIM. PROC. ART. 11.071)



                                 BRAD D. LEVENSON (No. 24073411)
                                 Director, Office of Capital Writs
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                                 ROBERT ROMIG (No. 24060517)
                                 (E-Mail: Robert.Romig@ocw. texas. gov)
                                 SAM FARINA-HENRY (No. 24082979)
                                 (E-mail: Sam.Farina-Henry@ocw.texas.gov)
                                 Post-Conviction Attorneys
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                                 Austin, Texas 78711
                                 (512) 463-8600
                                 (512) 463-8590 (fax)

                                 Attorneys for Applicant




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                               App. 0007
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17                                    Page 11 of 83 PageID 184


                                          TABLE OF CONTENTS

APPLICATION FORA WRIT OF HABEAS CORPUS ......................................... 1

PROCEDURAL HISTORY ...................................................................................... 4

A.    Trial Court Proceedings ...................................................................................... 4

         1. Indictment .................................................................................................. 4

         2. Trial ............................................................................................................ 4

         3. State Appellate Proceedings ...................................................................... 5

         4. State Habeas Proceedings .......................................................................... 6

STATEMENT OF FACTS ....................................................................................... 6

A.    Evidence at Trial. ............................................................................................... 6

         1. Guilt/Innocence Phase Presentation .......................................................... 6

         2. The Prosecution Punishment Phase Presentation ...................................... 6

         3. The Defense Punishment Phase Presentation ............................................ 8

B.    Post-Conviction Investigation ......................................................................... 13

         1. Family and Early Life .............................................................................. 13

         2. Teenage Years ......................................................................................... 16

         3. Military Service ....................................................................................... 19

         4. Adult Years .............................................................................................. 21

STANDARD OF CARE ......................................................................................... 25

A.    Ineffective Assistance of Trial Counsel .......................................................... 25

B.    Ineffective Assistance of Appellate Counsel .................................................. 29

ARGUMENT .......................................................................................................... 30




                                                                                                                                   3
                                                      App. 0008
     Case 4:16-cv-00133-O Document 13 Filed 02/04/17                                Page 12 of 83 PageID 185



CLAIM ONE: HUMMEL WAS DENIED HIS DUE PROCESS RIGHT TO AN
IMPARTIAL JURY WHEN JUROR DAVIS COMMITTED MISCONDUCT BY
AUTOMATICALLY VOTING FOR DEATH ...................................................... 30

A. . Legal Standard ................................................................................................. 31

B.     Juror Davis Automatically Voted for Death Based on Testimony During the
       Guilt/Innocence Phase Evidence ..................................................................... 33

C.     Juror Davis's Misconduct Entitles Hummel to a New Trial.. ......................... 34

D.     Juror Davis's Misconduct Entitles Hummel to a New Punishment Phase ..... 35

E.     Conclusion ....................................................................................................... 3 6
CLAIM TWO: HUMMEL'S TRIAL AND APPELLATE COUNSEL WERE
INEFFECTIVE IN FAILING TO ARGUE THAT THE STATE'S EVIDENCE
WAS INSUFFICIENT TO SHOW FUTURE DANGER ...................................... 36
A.     Relevant Facts ................................................................................................. 37

B.     The Evidence at Trial Was Legally Insufficient to Support the Jury's Finding
       That There Was a Probability That Hummel Wauld Commit Future Acts of
       Violence ........................................................................................................... 38

C.     Trial and Appellate Counsel Were Ineffective for Failing to Argue That The
       Evidence at Trial Was Legally Insufficient to Support the Jury's Finding of
       Future Dangerousness ..................................................................................... 40

CLAIM THREE: TRIAL COUNSEL WAS INEFFECTIVE FOR FAILING TO
PRESENT EVIDENCE THAT HUMMEL WAS NOT A FUTURE DANGER .. 40

A.     Trial Counsel's Performance Was Unreasonable for Failing to Present
       Evidence That Hummel Was Not a Future Danger ........................................ 42

B.     Hummel Was Prejudiced by Trial Counsel's Failure to Present Readily
       Available Evidence That Hummel Would Not Constitute a Future Danger to
       Society ............................................................................................................. 43

         1. Behavior in Tarrant County Jail .............................................................. 43

         2. Mental Health Expert ............................................................................... 46

C.     Conclusion ....................................................................................................... 46
                                                              11
                                                                                                                                  4
                                                      App. 0009
   Case 4:16-cv-00133-O Document 13 Filed 02/04/17


CLAIM FOUR: TRIAL COUNSEL WAS INEFFECTIVE IN FAILING TO
                                                                                          •
                                                                                       Page 13 of 83 PageID 186




PRESENT EXPERT TESTIMONY REGARDING HUMMEL'S LIFE IDSTORY
................................................................................................................................. 47

A.     Legal Standard ................................................................................................. 48

B.     Counsel Should Have Presented the Testimony of an Expert to Explain
       Hummel's Social History ................................................................................ 50

          1. Childhood ................................................................................................ 51

          2. Adulthood ................................................................................................ 56

C.     The Failure to Present an Expert to Explain Hummel's Social History
       Prejudiced His Trial. ........................................................................................ 60

CLAIM FIVE: TRIAL COUNSEL WAS INEFFECTIVE FOR FAILING TO
PRESENT RELEVANT LAY WITNESSES ......................................................... 62

A.     Trial Counsel Failed to Identify and Present Lay Witness Testimony
       Regarding Hummel's Complete Life Story .................................................... 64

          1. Witnesses Available to Testify ................................................................ 65

          2. Further Information From Witnesses Who Testified .............................. 70

B.     Counsel's Failure to Present This Testimony Lacked Any Strategic Rationale
       and Was Therefore Deficient Performance ..................................................... 71

C.     Trial Counsel's Deficient Performance Prejudiced Hummel's Trial.. ............ 72

CLAIM SIX: TRIAL COUNSEL ERRED BY FAILING TO PRESENT
HUMMEL'S MILITARY SERVICE AS MITIGATION EVIDENCE ................. 73

A.     Testimony at Trial ........................................................................................... 75

B.     Trial Counsel's Failure to Present Hummel's Military Service as Mitigation
       Evidence Constituted Ineffective Assistance of Counsel ............................... 7 6

          1. Available Evidence ofHummel's Military Service···~···························· 76
C.     Conclusion ....................................................................................................... 79



                                                                111
                                                                                                                                       5
                                                        App. 0010
     Case 4:16-cv-00133-O Document 13 Filed 02/04/17                                    Page 14 of 83 PageID 187



CLAIM SEVEN: TRIAL COUNSEL WAS INEFFECTIVE FOR FAILING TO
PRESENT EVIDENCE THAT HUMMEL SUFFERED FROM COMPLEX
POST-TRAUMATIC    STRESS             DISORDER                     RESULTING                     FROM
ATTACIIMENT TRAUMA ................................................................................... 80

A.     Legal Standard ................................................................................................. 81

B.     Trial Counsel Performed Deficiently in Failing to Present Evidence of
       Hummel's Attachment Trauma and Complex PTSD, Through a Qualified
       Expert Witness After a Thorough Investigation ............................................. 82

          1. Trial Counsel's Investigation into Hummel's Childhood ....................... 82

          2. Trial Counsel Mistakenly Relied on the Testimony of a
          Neuropsychologist Hired Before Counsel's Investigation Had Concluded. 83

          3. Reasonable Professional Norms Required Counsel Retain the Assistance
          of an Expert with Specialized Expertise in Attachment Trauma and Complex
          PTSD85

C.     Trial Counsel's Failure to Present Testimony Regarding Hummel's
       Attachment Trauma and Complex PTSD from a Qualified Expert Witness
       Prejudiced Hummel's Trial ............................................................................. 91

CLAIM EIGHT: HUMMEL'S DUE PROCESS RIGHT TO A FAIR TRIAL WAS
VIOLATED                  WHEN                THE           STATE              IMPERMISSIBLY                        INJECTED
INFLAMMATORY AND PREJUDICIAL EVIDENCE INTO BOTH PHASES
OF THE TRIAL; TRIAL AND APPELLATE COUNSEL WERE INEFFECTIVE
.................................. :.............................................................................................. 93

A.     Relevant Facts ................................................................................................. 94

B.     The State's Focus on Inflammatory, Emotion-Driven Evidence and Argument
       to Secure a Conviction of Capital Murder Deprived Hummel of His Right to a
       Fair Trial .......................................................................................................... 98

          1. Contextual Evidence ................................................................................ 98

          2. Emotion-Driven Evidence ..................................................................... 100

C.     The Evidence Presented Referencing Jodi and the Unborn Child Constituted
       Impermissible Victim Impact Evidence at Punishment and Deprived Hummel
       of the Right to a Fair Punishment Proceeding .............................................. 102
                                                                 lV
                                                                                                                                        6
                                                         App. 0011
     Case 4:16-cv-00133-O Document 13 Filed 02/04/17                                   Page 15 of 83 PageID 188


D.     Trial Counsel Was Ineffective for Failing to Object to This Evidence, as Was
       Appellate Counsel for Failing to Raise This Error on Appeal ...................... 104

E.     Conclusion ..................................................................................................... 105

CLAIM NINE: TRIAL COUNSEL FAILED TO EFFECTIVELY PRESENT
EVIDENCE THAT HUMMEL'S CONFESSION SHOULD BE SUPPRESSED
............................................................................................................................... 105
A.     Relevant Facts ............................................................................................... 106

          1. Warrantless Detention ........................................................................... 106

          2. Arrest ..................................................................................................... 109

          3. Detention and Confession ...................................................................... 109

          4. Pre-Trial Hearing ................................................................................... 110

B.     Trial Counsel Performed Deficiently in Failing to Present Relevant
       Documents and Transcripts of Phone Calls to Support Their Motion to
       Suppress ......................................................................................................... 113

C.     Had Trial Counsel Not Performed Deficiently, the Court Would Have Found
       Hummel's Detention Unlawful and Granted the Motion to Suppress
       Hummel's Confession ................................................................................... 116

          1. Unlawful Detention ............................................................................... 116

          2. Attenuation Analysis ............................................................................. 117

          3. Conclusion ............................................·................................................. 124

D.     Appellate Counsel Was Ineffective in Failing to Sufficiently Appeal the
       Court's Failure to Grant the Defense Motions to Suppress .......................... 124

CLAIM TEN: APPELLATE COUNSEL WAS INEFFECTIVE FOR FAILING
TO APPEAL THE TRIAL COURT'S ERRONEOUS DENIAL OF DEFENSE
COUNSEL'S VALID CHALLENGES FOR CAUSE OF NINE PROSPECTIVE
JURORS ................................................................................................................ 126

A.     Relevant Facts ............................................................................................... 127


                                                                 v
                                                                                                                                      7
                                                        App. 0012
     Case 4:16-cv-00133-O Document 13 Filed 02/04/17                                Page 16 of 83 PageID 189


B.     The Trial Court Erred by Failing to Grant Trial Counsel's Challenges for
       Cause ............................................................................................................. 128

         1. Potential Juror Bancroft ......................................................................... 128

         2. Potential Juror Butler ............................................................................. 129

         3. Potential Juror McFarland ..................................................................... 130

         4. Potential Juror Cuevas ........................................................................... 130

         5. Potential Juror Powell ............................................................................ 131

         6. Potential Juror Guidroz .......................................................................... 132

         7. Potential Juror Zeiger ............................................................................ 132

         8. Potential Juror Beauchamp .................................................................... 132

         9. Potential Juror Hermosillo ..................................................................... 133

C.     The Court's Erroneous Denial of Valid Challenges for Cause Prejudiced
       Hummel's Trial ............................................................................................. 134

         1. Juror Sanchez ......................................................................................... 135

D.     Hummel's Appellate Counsel Was Ineffective by Failing to Appeal the
       Court's Ruling on Trial Counsel's Motions to Strike for Cause ................... 136

E.     Conclusion ..................................................................................................... 137

CLAIM ELEVEN: TRIAL COUNSEL WAS INEFFECTIVE FOR FAILING TO
OBJECT TO THE STATE'S DISCRIMINATORY USE OF PEREMPTORY
STRIKES TO REMOVE MINORITY VENIRE MEMBERS IN VIOLATION OF
HUMMEL'S CONSTITUTIONAL RIGHTS ...................................................... 137

A.     Legal Standard ............................................................................................... 138

         1. Comparative Juror Analysis .................................................................. 139

B.     Jury Selection in Hummel's Case ................................................................. 140

C.     Minority Prospective Jurors Discriminatorily Struck by the State ............... 140

          1. Prospective Juror Gonzales ................................................................... 140
                                                              Vl
                                                                                                                                 8
                                                      App. 0013
     Case 4:16-cv-00133-O Document 13 Filed 02/04/17                               Page 17 of 83 PageID 190


         2. Prospective Juror Williams .................................................................... 141

         3. Prospective Juror Dennis ....................................................................... 142

D.     Comparative Juror Analysis .......................................................................... 142

E.     Deficient Performance and Prejudice ............................................................ 144

CLAIM TWELVE: HUMMEL'S DEATH SENTENCE SHOULD BE VACATED
BECAUSE THE PUNISHMENT PHASE JURY INSTRUCTION RESTRICTED
THE EVIDENCE THE JURY COULD DETERMINE WAS MITIGATING .... 145

A.     The Texas Statute and Hummel's Jury Instructions ..................................... 146

B.     Texas' Statute Unconstitutionally Limits the Categories of Evidence a Capital
       Jury May Find Mitigating and Warrant a Life Sentence .............................. 147

C.     Conclusion ..................................................................................................... 150

CLAIM   THIRTEEN:    HUMMEL'S     DEATH    SENTENCE        IS
UNCONSTITUTIONAL BECAUSE IT WAS ASSIGNED BASED ON TEXAS'
ARBITRARY SYSTEM OF ADMINISTERING THE DEATH PENALTY ..... 151

A.     Supreme Court Precedent Mandates That the Death Penalty Not Be Applied
       Arbitrarily ...................................................................................................... 152

B.     Texas' Death Penalty Scheme Is Unconstitutional ....................................... 153

         1. Geography .............................................................................................. 155

         2. Race ....................................................................................................... 158

C.     Conclusion ..................................................................................................... 160

CLAIM FOURTEEN: HUMMEL'S RIGHTS UNDER THE SIXTH, EIGHTH,
AND FOURTEENTH AMENDMENTS TO THE UNITED STATES
CONSTITUTION WERE VIOLATED WHEN THE TRIAL COURT WAS
PROHIBITED FROM INSTRUCTING THE JURY THAT A VOTE BY ONE
JUROR WOULD RESULT IN A LIFE SENTENCE .......................................... 160

A.     The Supreme Court Has Invalidated Jury Instructions That Place An Added
       Burden on the Sentencer Before Finding Mitigating Circumstances ........... 162


                                                            Vll
                                                                                                                                9
                                                     App. 0014
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17                                 Page 18 of 83 PageID 191



B.    Texas' 10-12 Sentencing Scheme Impairs the Ability of a Majority of Jurors
      to Reach a Life Sentence ............................................................................... 164

C.    The 10-12 Rule Constitutes an Impermissible Outside Influence on Jury
      Deliberations ..................................... ,............................................... ,............ 165

D.    Conclusion ..................................................................................................... 167

CLAIM FIFTEEN: HUMMEL IS INELIGIBLE FOR A DEATH SENTENCE
BECAUSE OF HIS MENTAL IMPAIRMENTS ................................................. 167

PRAYER FOR RELIEF ........................................................................................ 171




                                                           Vlll
                                                                                                                               10
                                                    App. 0015
                                                                          •
                                                                         ~----

  Case 4:16-cv-00133-O Document 13 Filed 02/04/17                      Page 19 of 83 PageID 192



                                 TABLE OF AUTHORITIES

Federal Cases
Abdul-Kabir v. Quarterman, 550 U.S. 233 (2007) .......................................... passim
Allen v. United States, 164 U.S. 492 (1896) ......................................................... 166
Amador v. Quarterman, 458 F.3d 397 (5th Cir. 2006) ......................................... 136
Arizona v. Washington, 434 U.S. 497 (1978) ....................................................... 166
Atkins v. Virginia, 536 U.S. 304 (2002) ................................................ 168, 169, 170
Batson v. Kentucky, 476 U.S. 79 (1986) ............................................................... 138
Bobby v. Van Hook, 558 U.S. 4 (2009) ................................................................... 26
Brewer v. Quarterman, 550 U.S. 286 (2007) ....................................................... 151
Brown v. Illinois, 422 U.S. 590 (1975) ................................................. 118, 120, 124
Bruton v. United States, 391 U.S. 123 (1968) .......................................................... 1
Chapman v. California, 386 U.S. 18 (1967) ........................................................... 30
Cullen v. Pinholster, 131 S. Ct. 1388 (2011) .......................................................... 26
Darden v. Wainwright, 477 U.S. 168 (1986) ............................................................ 1
Dorsey v. Quarterman, 494 F.3d 527 (5th Cir. 2007) .......................................... 126
Downum v. United States, 372 U.S. 734 (1963) ................................................... 166
Enmund v. Florida, 458 U.S. 782 (1982) ............................................................. 168
Evitts v. Lucey, 469 U.S. 387 (1985) ...................................................... 29, 125, 136
Florida v. Royer, 460 U.S. 491 (1983) ................................................................. 117
Ford v. Wainwright, 477 U.S. 399 (1986) ............................................................ 152
Furman v. Georgia, 408 U.S. 238 (1972) ............................................................. 152
Gideon v. Wainwright, 372 U.S. 335 (1963) .................................................... 31, 32
Godfrey v. Georgia, 446 U.S. 420 (1980) ............................................................. 153
Gregg v. Georgia, 428 U.S. 153 (1976) ........................................................ 153, 157
Harrington v. Richter, 131 S. Ct. 770 (20 11) ................................................... 26, 28
Hernandez v. New York, 500 U.S. 352 (1991) ...................................................... 138
Hodge v. Kentucky, 133 S. Ct. 506 (2012) ............................................................ 148
Irvin v. Dowd, 366 U.S. 717 (1961) ........................................................ 30, 126, 134
Jackson v. Virginia, 443 U.S. 307 (1979) ........................................................... 2, 37
Johnson v. California, 545 U.S. 162 (2005) ......................................................... 138
Jurekv. Texas, 428 U.S. 262 (1976) ................................................................ passim
Kimmelman v. Morrison, 477 U.S. 365 (1986) ..................................................... 113
Lockett v. Ohio, 438 U.S. 586 (1978) ......................................................... 1, 32, 146
Lutwakv. United States, 344 U.S. 604 (1953) .......................................................... 1
McCleskeyv. Kemp, 481 U.S. 279 (1987) ............................................................ 148
McKoy v. North Carolina,494 U.S. 433 (1990) ..................................... ~ ............. 164
Miller v. Dretke, 420 F.3d 356 (5th Cir. 2005) ....................................................... 27

                                                    IX
                                                                                                              11
                                             App. 0016
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17                        Page 20 of 83 PageID 193


Miller-El v. Dretke, 545 U.S. 231 (2005) ............................................. 138, 139, 140
Mills v. Maryland, 486 U.S. 367 (1988) ............................................... 162, 163, 164
Morgan v. Illinois, 504 U.S. 719 (1992) ............................................... 31, 32, 35, 36
Padilla v. Kentucky, 559 U.S. 356 (2010) .............................................................. 26
Parker v. Gladden, 385 U.S. 363 (1966) ................................................................ 36
Penry v. Johnson, 532 U.S. 782 (200 1) ........................................................ 150, 154
Penryv. Lynaugh, 492 U.S. 302 (1989) ........................................ 149, 151, 154, 158
Porter v. McCollum, 558 U.S. 30 (2009) ......................................................... passim
Rice v. Collins, 546 U.S. 333 (2006) .................................................................... 138
Ries v. Quarterman, 522 F.3d 517 (5th Cir. 2008) ......................................... 29, 136
Rivera v. Illinois, 566 U.S. 148 (2009) ................................................................... 93
Rompilla v. Beard, 545 U.S. 374 (2005) ............................................... 26, 27, 28, 73
Roper v. Simmons, 543 U.S. 551 (2005) ............................................................... 168
Rose v. Clark, 478 U.S. 570 (1986) ........................................................................ 30
Sears v. Upton, 130 S. Ct. 3259 (2010) .................................................................. 71
Skipper v. South Carolina, 476 U.S. 1 (1986) ................................................. passim
Smith v. Robbins, 528 U.S. 259 (2000) ............................................................ passim
Snyder v. Louisiana, 552 U.S. 472 (2008) ............................................................ 138
Strickland v. Washington, 466 U.S. 668 (1984) .............................................. passim
Taylor v. Alabama, 457 U.S. 687 (1982) ...................................... 121, 122, 123, 124
Tennard v. Dretke, 542 U.S. 274 (2004) ................................................... 61, 72, 148
United States v. Brown, 553 F.3d 768 (5th Cir. 2008) ......................................... 139
United States v. Watson, 423 U.S. 411 (1976) ...................................................... 116
United States v. Williamson, 183 F.3d 458 (5th Cir. 1999) .................................. 136
United States v. York, 600 F.3d 347 (5th Cir. 2010) ......................................... 31,34
Virgil v. Dretke, 446 F.3d 598 (5th Cir. 2006) ....................................................... 25
Wainwright v. Witt, 469 U.S. 412 (1985) ............................................................. 126
Walbey v. Quarterman, 309 Fed. Appx. 795 (5th Cir. 2009) ........................... 62, 72
Whitaker v. Quarterman, 200 Fed. Appx. 351 (5th Cir. 2006) .............................. 81
Wiggins v. Smith, 539 U.S. 510 (2003) ............................................................ passim
Williams v. Taylor, 529 U.S. 362 (2000) .................................................... 29, 47, 73
Wong Sun v. United States, 371 U.S. 487 (1963) ................................................. 120
Woodv. Allen, 558 U.S. 290 (2010) ..................................................................... :. 74
Woodson v. North Carolina, 428 U.S. 280 (1976) ....................................... 152, 153
Yick Wo v. Hopkins, 118 U.S. 356 (1886) ............................................................ 160
State Cases
Akins v. State, 202 S.W.3d 879 (Tex. App.-Fort Worth 2006) .......................... 117
Bell v. State, 724 S.W.2d 780 (Tex. Crim. App. 1986) ................................... passim
Beltran v. State, 728 S.W.2d 382 (Tex. Crim. App. 1987) ..................................... 39

                                                      X
                                                                                                                 12
                                               App. 0017
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17                  Page 21 of 83 PageID 194


Bennett v. State, 738 S.W.2d 33 (Tex. App.-Texarkana 1987, no pet.) ............... 35
Berry v. State, 233 S.W.3d 847 (Tex. Crim. App. 2007) ............................ 38, 39, 40
Cantu v. State, 939 S.W.2d 627 (Tex. Crim. App. 1997) ............................. 102, 103
Coble v. State, 330 S.W.3d 253 (Tex. Crim. App. 2010) ........................... 42, 46, 81
Erazo v. State, 144 S.W.3d 487 (Tex. Crim. App. 2004) ............... 99, 100, 101, 105
Ex parte Adams, 768 S.W.2d 281 (Tex. Crim. App. 1989) .............................. 93, 94
Ex parte Chandler, 182 S.W.3d 350 (Tex. Crim. App. 2005) ................................ 62
Ex parte Ellis, 233 S.W.3d 324 (Tex. Crim. App. 2007) ............................... 62, 145
Ex parte Flores, 387 S.W.3d 626 (Tex. Crim. App. 2012) .................................... 25
Ex parte Gonzales, 204 S.W.3d 391 (Tex. Crim. App. 2006) ......................... passim
Ex parte Jimenez, 364 S.W.3d 866 (Tex. Crim. App. 2012) .................................. 25
Ex parte Martinez, 195 S.W.3d 713 (Tex. Crim. App. 2006) ................................ 28
Ex parte Miller, 330 S.W.3d 610 (Tex. Crim. App. 2009) ........................... 104, 105
Ex parte Santana, 227 S.W.3d 700 (Tex. Crim. App. 2007) .................... 29, 40, 136
Franklin v. State, 138 S.W.3d 351 (Tex. Crim. App. 2004) ........................... 30, 126
Garcia v. State, 201 S.W.3d 695 (Tex. Crim. App. 2006) ..................................... 99
Griffith v. State, 983 S.W.2d 282 (Tex. Crim. App. 1998) ..................................... 46
Heath v. Boyd, 175 S.W.2d 214 (Tex. 1943) ........................................................ 116
Hollis v. State, 219 S.W.3d 446 (Tex. App.-Austin 2007) ................................ 116
Hughes v. State, 878 S.W.2d 142 (Tex. Crim. App. 1992) .................................. 129
Johnson v. State, 496 S.W.2d 72 (Tex. Crim. App. 1973) ................................... 121
Johnson v. State, 871 S.W.2d 744 (Tex. Crim. App. 1994) ................................. 121
Keeton v. State, 724 S.W.2d 58 (Tex. Crim. App. 1987) ....................................... 39
Linscomb v. State, 829 S.W.2d 164 (Tex. Crim. App. 1992) ............................... 138
Maixner v. State, 753 S.W.2d 151 (Tex. Crim. App. 1988) ......................... 118, 122
Martinez v. State, 763 S.W.2d 413 (Tex. Crim. App. 1988) ................................ 134
Mayes v. State, 816 S.W.2d 79 (Tex. Crim. App. 1991) ........................................ 99
Meza v .State, 206 S.W.3d 684 (Tex. Crim. App. 2006) ................................ 30, 124
Monge v. State, 315 S.W.3d 35 (Tex. Crim. App. 2010) ...................................... 117
Montgomery v. State, 810 S.W.2d 372 (Tex. Crim. App. 1990) .................... 93, 101
Munroe v. State, 637 S.W.2d 475 (Tex. Crim. App. 1982) ...................... ~············· 35
Newbury v. State, 135 S.W.3d 22 (Tex. Crim. App. 2004) .................................. 100
Nieto v. State, 365 S.W.3d 673 (Tex. Crim. App. 2012) ...................................... 138
Reese v. State, 33 S.W.3d 238 (Tex. Crim. App. 2000) ............................... 101, 105
Rogers v. State, 853 S.W.2d 29 (Tex. Crim. App. 1993) ....................................... 99
Salazar v. State, 90 S.W.3d 330 (Tex. C~im. App. 2002) .................................... 102
Selfv. State, 709 S.W.2d 662 (Tex. Crim. App. 1986) ................................. 118, 123
State v. Johnson, 871 S.W.2d 744 (Tex. Crim. App. 1994) ................................. 118
State v. Mazuca, 375 S.W.3d 294 (Tex. Crim. App. 2012) .......................... 118, 122
Thompson v. State, 9 S.W.3d 808 (Tex. Crim. App. 1999) .............. 25, 26, 117, 124
                                                  XI
                                                                                                         13
                                           App. 0018
   Case 4:16-cv-00133-O Document 13 Filed 02/04/17                                   Page 22 of 83 PageID 195


Valle v. State, 109 S.W.3d 500 (Tex. Crim. App. 2003) ........................................ 38
Wallace v. State, 618 S.W.2d 67 (Tex. Crim. App. 1981) ................................ 38, 39
Warren v. State, 562 S.W.2d 474 (Tex. Crim. App. 1981) .................................... 39
Young v. State, 826 S.W.2d 141 (Tex. Crim. App. 1991) .................................... 139
Statutes
Tex. Code Crim. Proc. Art. 35.261 ....................................................................... 138
Tex. Code Crim. Proc. Art. 37.071 ............................................... 146, 147, 161, 162
Other Authority
ABA Guidelines for the Appointment and Performance of Counsel in Death
  Penalty Cases (1989) ........................................................................................... 82
ABA Guidelines for the Appointment and Performance of Defense Counsel in
  Death Penalty Cases 2003, 31 HOFSTRAL. REv. 913 (2003) ...................... passim
ABA Standards for Criminal Justice (3d ed. 1993) ................................................ 27
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  Death Penalty Cases, 36 HOFSTRA L. REv. 677 (2008) .......................... 48, 49, 63
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  CHAMPION (Aug. 1985) ................................................................................. 61, 63
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  Presenting Mental Health Evidence in Criminal Cases, THE CHAMPION (Nov.
  2000) .................................................................................................................... 73
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  Competent and Reliable Mental Health Examination, 17 THE ADVOCATE 4
  (Aug. 1995) ......................................................................................................... 49
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  Mitigation Investigations and Presentations, 36 HOFSTRA L. REv. 923 (2008) 85
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   143 (2011) ··········································································································· 43
Richard G. Dudley & Pamela Blume Leonard, Getting it Right: Life History
  Investigation As the Foundation for A Reliable Mental Health Assessment, 36
  HOFSTRA L. REV. 963 (2008) .............................................................................. 81
State Bar of Texas, Guidelines and Standards for Texas Capital Counsel (April 21,
  2006) ................................................................. :.............................. 27, 28, 62, 136




                                                             Xll
                                                                                                                                  14
                                                      App. 0019
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17         Page 23 of 83 PageID 196


            APPLICATION FOR A WRIT OF HABEAS CORPUS

                               This is a Capital Case
                            "Fairness is what Justice really is."
                             - Justice Potter Stewart
      In every criminal trial, "[a] defendant is entitled to a fair trial but not a
perfect one." Lutwak v. United States, 344 U.S. 604, 619 (1953); accord Bruton v.
United States, 391 U.S. 123, 135 (1968).        Still, there is an equally-recognized
principle that the "qualitative difference between death and other penalties calls for
a greater degree of reliability when the death sentence is imposed." Lockett v.
Ohio, 438 U.S. 586, 604 (1978); Darden v. Wainwright, 477 U.S. 168, 188 (1986)
(Blackmun, J., dissenting) ("Although the Constitution guarantees a criminal
defendant only 'a fair trial [and] not a perfect one,' ... this Court has stressed
repeatedly . . . that the Eighth Amendment requires a heightened degree of
reliability in any case where a State seeks to take the defendant's life.").
      While broadly viewed it appears that John Hummel received such a "fair"
trial, in actuality there were significant errors that permeated Hummel's trial,
infringing his right to a fair and impartial jury, his right to effective and diligent
counsel, and his right to have the jury measure the full weight of his life's story
against the State's case in punishment.
      Despite the best efforts of the criminal justice system, errors occur, often
unseen in the moment, but revealed upon post-conviction habeas investigation. In
Hummel's case, the strength of his conviction and the reliability of his death
sentence crumble under the impact of a single instance of juror misconduct. Here,
a juror, who swore to follow the court's instructions and deliberate both guilt and
punishment cases, made up his mind as to Hummel's guilt and death sentence
during the middle of the State's case at guilt. In deciding to vote for guilt and for


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                                     App. 0020
(

      Case 4:16-cv-00133-O Document 13 Filed 02/04/17             Page 24 of 83 PageID 197



    death before all the evidence had been presented, this juror robbed Hummel of his
    constitutional protection of a fair and impartial tribunal.
          Next, a sentence can only be found competent if supported by sufficient
    evidence. Jackson v. Virginia, 443 U.S. 307, 316 (1979).              In Texas, the law
    demands that only those defendants who are found to be in danger of committing
    future acts of violence may receive the death penalty.           Yet, the State did not
    present sufficient evidence to meet this burden of proof, a fact Hummel's trial
    counsel and appellate counsel failed to argue on his behalf. Further, evidence
    available to his trial counsel to counter the State's case-testimony from prison
    guards and an expert witness that Hummel was not likely to commit future acts of
    violence-was neither investigated nor presented by trial counsel.
          And while trial counsel's efforts in Hummel's case were certainly valiant,
    they still fell short of fulfilling the rigorous investigative demands of a capital case.
                                                                            \'-
    Trial counsel investigated the relationships between Hummel and his immediate
    family members, narrowly focusing on suspicions that Hummel was sexually
    abused. However, proof of this did not materialize and their investigation into
    other avenues of mitigation evidence suffered.
          For example, counsel failed to investigate several important time periods and
    themes in Hummel's life, particularly his military service and adult life. As a
    result, Hummel's jury heard a defense presentation that thematically and
    chronologically skipped from Hummel's abusive, neglected childhood to the
    violent acts on the night of the criine.        A complete investigation would have
    enabled trial counsel to present to the jury Hummel's entire life story, thus
    providing an understanding of how Hummel became the person he did. The jury
    would have learned about significant mitigating themes in Hummel's life,
    including the attachment trauma he suffered as a child, causing him to escape into
    fantasy role-playing games as a teenager, his formation of a new identity and early
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                                                                                                16
                                          App. 0021
                      •
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17
                                                             •
                                                           Page 25 of 83 PageID 198



successful service in the United States Marine Corps, and ultimately his struggles
with severe physical ailments and complex post-traumatic stress disorder in the
period leading up to the crime.
      Hummel's constitutional right to a fair trial was further infringed by
improperly prejudicial evidence presented by the State. During the guilt/innocence
presentation, the State presented substantial evidence about the death of Hummel's
six-year-old-daughter and the unborn child, despite neither being part of the
indicted crime. The argument and evidence put forward by the State included
irrelevant and highly prejudicial testimony from the girl's teachers and a
photograph of the excised fetus.           Evidence that normally would have been
prejudicial in the punishment phase, became even more objectionable and
incendiary when presented in the guilt/innocence phase.
      These and other errors, as will be explained in detail below, accumulated to
                                      )


undermine the constitutional safeguards of due process in Hummel's capital trial.
Whether individually or collectively, these errors raise concerns about the wisdom
and justice of imposing the most   fina~   of punishments in this case. For the reasons
discussed below, Hummel's conviction and sentence should be overturned, and
Hummel should be granted a new trial or a reversal of his death sentence.




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                                                                                          17
                                     App. 0022
    Case 4:16-cv-00133-O Document 13 Filed 02/04/17     Page 26 of 83 PageID 199


                                         I.
                           PROCEDURAL HISTORY

       John William Hummel is confined under a sentence of death pursuant to the
judgment of the 432nd District Court, Tarrant County, Texas, case number
1184294D, which was rendered on June 27, 2011, and entered on June 29, 2011.
(45 RR at 97; CR at 747-49.) 1
    A. Trial Court Proceedings
       On December 23, 2009, this Court appointed Fred Cummings to represent
Hummel during his capital trial.    (CR at 21.) Larry Moore was appointed to
represent Hummel as co-counsel on December 31, 2009. (Id. at 24.)
      1. Indictment
       On February 17, 2010, a grand jury indicted Hummel with capital murder in
the course of knowingly causing the deaths of Clyde Bedford and Joy Hummel
during the same criminal transaction. (CR at 2.)
      2. Trial
       Voir dire began on April 28, 2011, and concluded on June 2, 2011. (11 RR
at 28; 31 RR at 28.) Hummel was arraigned on April 28, 2011. (11 RR at 21.)
The court entered a plea of not guilty on Hummel's behalf.          ( 11 RR at 22.)
Opening statements for the guilt/innocence phase of the trial began on June 13,
2011. (33 RR at 19.) The State's case-in-chief continued until June 22, 2011,
when the State rested. (40 RR at 23.) Defense counsel did not call any affirmative
witnesses and rested its case shortly thereafter. (Id. at 28.) Closing arguments
occun·ed on the same day, and the case was submitted to the jury for deliberations.
(Id. at 50 et seq., 78.) The jury found Hummel guilty of capital murder. (Id. at 79;
see also CR at 721.)

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 "CR" refers to the Clerk's Record in Hummel's trial.          "RR" refers to the
Reporter's Record in Hummel's trial.
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                                                                                       18
                                    App. 0023
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17       Page 27 of 83 PageID 200


      The punishment phase began the same day. (41 RR at 7.) Neither party
made opening statements to the jury. (Jd.) The State presented its case-in-chief
until the defense was permitted to present several out-of-state witnesses on June
24, 2011. (43 RR at 50.) On June 27, 2011, the State called three additional
witnesses before resting its case. (44 RR at 33.) Defense counsel then called two
further witnesses before resting its case. (Jd. at 163.) On June 28, the State called
two rebuttal witnesses (45 RR at 6, 32) before resting its case in rebuttal. (Jd. at
46.) Defense counsel did not present any rebuttal witnesses. (Jd. at 47.)
      Both sides then gave closing arguments, and the jury immediately retired for
deliberations. (45 RR at 57, 65, 73, 93.) Later that same day, the jury returned a
verdict of "Yes" to Special Issue One, and "No" to Special Issue Two. (45 RR at
94-95.) John Hummel was formally sentenced to death on June 28, 2011. (45 RR
at 97; CR at 747-49.)
    3. State Appellate Proceedings
      On June 28, 2011, Hummel was notified of his right to appeal. (CR at 745.)
Hummel was declared indigent and John Stickels was appointed to represent him.
(Jd. at 757.)   A Motion for New Trial was filed on July 21, 2011, alleging
insufficient evidence to sustain Hummel's conviction and the jury's finding as to
Special Issue One. (!d. at 761.) The court took no action on the motion (id. at
763), and it was denied under operation of law on September 22, 2011. See Tex.
R. App. Pro. Art 21.8.
      Mr. Stickels filed an opening appellate brief in John William Hummel v. The
State of Texas, Cause Number AP-76,956, in the Court of Criminal Appeals
("CCA") on September 21, 2012. The State submitted a brief in response on
January 18, 2013. Appellate counsel did not file a reply brief. The CCA heard
oral arguments on February 27, 2013. As of the date of this filing, the CCA has
not issued a decision on Hummel's appeal.
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                                                                                        19
                                    App. 0024
                         •
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17


     4. State Habeas Proceedings
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                                                         Page 28 of 83 PageID 201




          The 432nd District Court appointed the Office of Capital Writs ("OCW") to
represent Hummel in filing an application for a writ of habeas corpus pursuant to
the Code of Criminal Procedure Article 11.071 on June 30, 2011. (CR at 746.)
This Application follows.
                                          II.
                              STATEMENT OF FACTS

   A. Evidence at Trial
     1. Guilt/Innocence Phase Presentation
          The prosecution presented evidence that on the night of December 17, 2009,
Hummel used a baseball bat and several knives to murder his wife Joy Hummel,
their daughter Jodi, and Joy's father Clyde Bedford. Hummel then set the house
on fire and left Texas for California, where he was arrested. (See 33-40 RR.)
          The defense presented no evidence during the guilt/innocence stage. (40 RR
at 24.)
     2. The Prosecution Punishment Phase Presentation
      The State presented three main areas of evidence in favor of the death
penalty during the punishment phase. First, the prosecution argued that Hummel's
actions leading up to and following the crime exhibited he had planned the murders
and was happy once they were completed.             The prosecution presented the
testimony of Kennedale police investigator James Rizy to describe how Hummel
had attempted to poison his family two days before the crime. Rizy also testified
that Hummel had left after the crime and traveled to Oceanside, California, where
he went to a strip club and took drugs. (41 RR at 8-31.) Scott Matejka testified
that he met Hummel at the California strip club and the two of them decided to go
to Mexico to buy drugs. Matejka stated that he and Hummel smoked crack cocaine


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                                      App. 0025
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 Case 4:16-cv-00133-O Document 13 Filed 02/04/17
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                                                       Page 29 of 83 PageID 202



and that Hummel was stopped at the border when crossing back from Mexico. (42
RR at 23-52.)
      Next, the prosecution focused on other alleged bad conduct on the part of
Hummel as evidence of aggravation, specifically implying sexual deviance. The
prosecution presented the testimony of two strippers, Tomiko Race and Gretchen
Bow, who testified that Hummel would frequently visit them and request dances.
They stated that Hummel would call them after work and wanted to spend time
with them.      (42 RR at 72-85, 109-29.)    The prosecution also presented the
testimony of William Ford, a doctor at the hospital where Hummel worked as a
security guard, and Champion Security employees Matt Sullivan and Cindy Green.
Dr. Ford testified that he found pornography on his own work computer and
suspected that someone was using the computer when he was not in his office. (Id.
at 95-108.) The prosecution offered testimony of a computer expert to show that
Hummel had accessed Dr. Ford's computer and the testimony of Cindy Green to
show that Hummel was on shift at the hospital when Dr. Ford's computer was
used. (!d. at 138-78.) Hummel's supervisor Matt Sullivan testified that Hummel
had received infractions for this unauthorized computer use, as well as smoking
and watching television. Sullivan had a disciplinary meeting with Hummel the
morning after the crime, where Hummel admitted to his infractions. (Id. at 5-13.)
      Finally, the prosecution presented rebuttal testimony to discount Hummel's
military service. Lieutenant Colonel Michael Dougherty testified that Hummel
was an average Marine who had to be counseled about his frequent visits to strip
clubs. In addition, Dougherty testified that the medals Hummel received for his
service were received by all members of his unit and not earned for his individual
efforts. (45 RR at 5-30.) Captain Sergio Santos testified that Hummel was not a
very impressive Marine, and that Santos had revoked Hummel's security clearance


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                                   App. 0026
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  Case 4:16-cv-00133-O Document 13 Filed 02/04/17
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                                                       Page 30 of 83 PageID 203



because he left the base without permission and had questionable integrity. (ld. at
32-46.)
      In closing, the prosecution argued that Hummel would be a future danger
based on the planning and lack of restraint shown in the crime (45 RR at 86), and
that nothing in Hummel's history was sufficiently mitigating to warrant a life
sentence. (45 RR at 87.)
     3. The Defense Punishment Phase Presentation
      a. Lay Witnesses
      During the punishment phase of trial, Hummel's counsel presented the
testimony of Hummel's sister, two former girlfriends, two school employees from
Hummel's high school, and four members of the Pack family from South Carolina
that were friends with Hummel's family when he was a child. The testimony
offered by these witnesses fell into three main categories: Hummel's family life as
a child, Hummel's educational disability, and Hummel's experience in romantic
relationships.
          i. Family Life
      First, trial counsel presented evidence that Hummel was raised in a family
environment that lacked love and appropriate relationships. Counsel presented the
testimony of Hummel's sister, Neata Woody, who was nine years older than
Hummel. In addition, counsel presented Linda Pack, who had been close friends
with Hummel's mother Jackie, as well as Mark Pack (Linda's son), Christy Pack
(Mark's wife), and Derrick Parris (Mark's cousin). The Packs would go every
Sunday to the Hummels' house for dinner.
      Hummel and his family lived outside of town on a farm owned by a local
dentist. Hummel would help his father out on the farm. (43 RR at 105-08.) Neata
testified that her parents never showed affection to their children and that she
mainly took care ofHummel as a child. (Jd. at 211.)

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                                   App. 0027
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  Case 4:16-cv-00133-O Document 13 Filed 02/04/17         Page 31 of 83 PageID 204


      Neata felt her parents were abusive. (43 RR at 221.) Her parents would
discipline them with strikes from a belt and often would leave them alone. (!d. at
213-18.) Mark Pack remembered Hummel's father throwing Hummel off a tractor
on one occasiOn.        (Id. at 112.)    Derrick Parris also remembered once when
Hummel's father beat him with a belt, leaving marks, and once with a broom
handle. (Jd. at 153.)
      Hummel's parents had a strange relationship.         Linda Pack testified that
Hummel's father cheated on Hummel's mother and that Hummel's mother once
asked Linda if she would sleep with her husband. (43 RR at 143-44.) Neata
remembered walking in on her father receiving oral sex from a woman from their
church.    (Jd. at 252.)        Parris remembered Hummel's father slapping Parris's
mother on the rear inappropriately. (!d. at 155.)
      Hummel's parents were strict. They would only allow few friends to visit,
like the Packs for Sunday dinners. (43 RR at 218.) They provided essential care to
Neata and Hummel, but never any affection. (Id. at 249-50.) Hummel's mother
was more generous to other people's children than her own. (!d. at 127.) She
would spend money for gifts for other people's children, like shoes for Linda
Pack's daughter, but not on her own kids. (Id. at 138-45.)
      When Hummel was young, kids called him "Bacon" because of how he
smelled. (43 RR at 223.) His friends believed he was not smart. They made fun
of him when they thought he was making up having girlfriends. (!d. at 159, 168.)
Hummel was very quiet at Sunday dinners. (!d. at 126.) While the others would
play games after dinner, Hummel would go to his room and play video games. (Id.
at 109.)
      In addition to her testimony regarding Hummel's life as a child, Neata also
testified about knowing the victims Joy and Jodi, and that Hummel was having
financial problems. (43 RR at 229-32.) On cross-examination, Neata told the jury
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                                        App. 0028
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17       Page 32 of 83 PageID 205


that she did not want to be there testifying for her brother, but had been
subpoenaed by the defense. She believed Hummel was responsible for the victims'
deaths and that the jury should do what was "correct." She stated that she and her
family were "broken" when they lost the victims: She also stated that she thought
Hummel would kill her parents with a sword. (Jd. at 232-48, 255-56.)
         ii. Education
      Next, trial counsel offered evidence that Hummel struggled in school due to
a learning disability. Parris testified that Hummel was "stupid" and could not spell
the word "egg." (43 RR at 159-61.) Haila Scoggins (now Haila Adams) was the
special education teacher for Hummel when he was in high school. Hummel had a
disability in his writing, like dyslexia, and needed accommodations in order to
graduate from high school. According to Scoggins, Hummel was quiet, pleasant,
and cooperative and liked to play video games and "Dungeons and Dragons."
Although Scoggins held parent teacher conferences, Hummel's parents never
attended and she only met Hummel's mother once during his school career. The
last time she saw Hummel was just after he graduated from high school when he
was working at a fast food restaurant. (Jd. at 50-72.) Tommy Stribble was the
special education director for Hummel's schools and was custodian of records. He
confirmed that Hummel failed the fourth grade, was a member of ROTC, and
lacked any disciplinary problems. (/d. at 75-1 00.)
        iii. Romantic Life
      Finally, trial counsel presented evidence regarding Hummel's romantic life.
Stephanie Bennett testified that she and Hummel met in high school and began
double dating with her older brother. They mainly went to the movies, hung out,
and went to church together. Hummel wanted to matTy Bennett, but she was not
ready. They broke up and Hummel was upset, but he was never violent towards
her. (43 RR at 170-83.) Another girlfriend, Letti Ulbright, testified that she had a

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                                    App. 0029
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17       Page 33 of 83 PageID 206



relationship with Hummel for a brief period after he was in the Marines. Ulbright
was pregnant and homeless when she met Hummel. They began their relationship
in California, but soon moved to South Carolina to become a family. They lived in
a trailer and Hummel work at a Kohler factory. When Ulbright gave birth two
months later, Hummel's sister Neata came to her one day with a letter supposedly
from Hummel saying he no longer wanted to be a family. Neata sent Ulbright
back to California. Ulbright testified that Hummel was never violent or abusive to
her. (Jd. at 185-206.)
          iv. Other Evidence
        In addition to· the themes described above, Derrick Parris testified briefly
regarding Hummel's adult life.        Parris described how Hummel lost weight to
become a Marine and had more self-esteem while he was enlisted. Parris was
surprised Hummel became a Marine and an intelligence analyst because he was not
smart. After he came back from the Marines, Hummel would go to strip clubs.
According to Parris, Hummel had a hard time distinguishing the fantasy flirting of
the strippers from someone who actually was attracted to him. (43 RR at 157-61,
166.)
        b. Expert Witnesses
        The defense presented the testimony of two expert witnesses:       a pnson
classification expert and a neuropsychologist.
           i. Prison Classification
        Frank Aubuchon, a fonner Texas Department of Criminal Justice ("TDCJ")
employee, testified as a defense expert on the prison classification system.
Aubuchon described the various types of facilities that Hummel might be placed in
if given life without parole. He also described the security protocols that prisons
use to keep guards safe. (44 RR at 34-59.)


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                                      App. 0030
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  Case 4:16-cv-00133-O Document 13 Filed 02/04/17
                                                           •
                                                         Page 34 of 83 PageID 207



      Aubuchon described the process TDCJ uses to classify an inmate based on
his crime and past conduct, ranging from least restricted ("G 1") to most restricted
("G5") and Administrative Segregation.         Based on Hummel's offense reports,
military 'records, medical records, and jail behavior, Aubuchon predicted that
Hummel would be classified as a "G3" if given a sentence of life without parole.
He also believed based on Hummel's good behavior and military history, Hummel
would function well in prison. (44 RR at 59-73.)
      On cross-examination, Aubuchon admitted that he did not know that
Hummel had once gone absent without leave ("AWOL") in the military. Further,
Aubuchon agreed that prisoners can escape, can make weapons, and can hurt
others while in prison. However, he testified that escapes are rare and that the
prison system has adapted to prevent violent acts by inmates. (44 RR at 73-116.)
         ii. Mental Health
      Dr. Antoinette McGarrahan testified that she was a forensic psychologist
who specialized in neuropsychology, the study of brain behavior. She performed
an evaluation of Hummel, including a clinical interview, review of Hummel's vital
records such as medical, education, and military records, and interviews with
Hummel's sister and mother. (44 RR at 118-23.)
      Dr. McGarrahan testified that Hummel had an IQ of 109 and did not exhibit
any diagnosable clinical disorders. However, in her opinion Hummel did suffer
from several traits of narcissism, antisocial personality disorder, schizoid disorder,
and borderline personality disorder. Hummel's narcissistic traits meant he was
self-focused and lacked empathy. His anti-social traits meant that Hummel was
irresponsible, deceitful, and manipulative.     Hummel's schizoid features caused
Hummel to be detached in his relationships with others.           Finally, Hummel's
borderline traits caused Hummel to feel empty and lack goals. These traits were
involuntary and permanent. (44 RR at 124-32.)
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                                    App. 0031
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  Case 4:16-cv-00133-O Document 13 Filed 02/04/17        Page 35 of 83 PageID 208


      Dr. McGarrahan testified that the lack of nurturing Hummel experienced
from his family contributed to these feelings. Hummel became unable to express
his emotions, holding in his anger and frustrations, and unable to form meaningful
relationships. Ultimately Hummel's emotions came out in a flood on the night of
the crime. (44 RR at 132-43.)
      On cross-examination, Dr.        McGarrahan agreed that Hummel             was
irresponsible, grandiose, manipulative, impulsive, and unable to appreciate
consequences of his actions. She also agreed that Hummel was like a "sleeping
volcano" and that she could not tell whether another set of circumstances would set
him off. (44 RR at 146-55.)
   B. Post-Conviction Investigation
      Post-conviction investigation has uncovered significantly more details
regarding Hummel's life history that were available to present to his capital jury.
     1. Family and Early Life
      Hummel was born in 1975 to John Hummel Sr. ("John Sr.") and his wife
Jackie. Hummel's mother Jackie was raised in an abusive home. She, her brother
Thomas Hamilton, and their siblings, witnessed their father severely beat their
mother. Their mother would hide bottles of pepper juice and bleach around the
house so that she could throw them at their father when he was violent. During
one such episode, their mother shot and wounded their father. Their mother would
in tum beat her own children to the point they would cry for each other. Jackie's
family was also very poor. There were times when their mother worked two jobs
and could only feed them by boiling a potato; they would drink the liquid for lunch
and eat the potato for dinner. (Ex. 12 at ,-r,-r3-4, 17 [Affidavit ("Aff.") of Thomas
Hamilton].)




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                                     App. 0032
    Case 4:16-cv-00133-O Document 13 Filed 02/04/17     Page 36 of 83 PageID 209



        Jackie married John Sr., and they had two children together, John Hummel
Jr. and Neata Hummel Woody. 2 Hummel was born in Grand Prairie, Texas, but
the family moved to Pacolet, South Carolina when Hummel was around four years
old.    The Hummels moved after Jackie got into legal trouble for writing bad
checks.    In addition, the family moved to follow a traveling preacher named
Andrew Carrigan who had started the Morning Star Baptist Church in Pacolet.
(Ex. 12 at ~~6-7 [Aff. ofHamilton].)
        Another reason for the move was John Sr.'s extramarital affairs, which were
common knowledge in the family. John Sr. had been caught cheating, but he and
Jackie remained married. In fact, Jackie may have even encouraged these affairs.
(Ex. 12 at ~8 [Aff. of Hamilton].)
        Because of financial problems, the Hummels eventually moved onto a farm
in South Carolina. John Sr. worked the farm (in addition to his day job at the
Kohler ceramics plant) in exchange for free rent. The farm was out in the country
and isolated from the rest ofthe town. (Ex. 12 at ~9 [Aff. of Hamilton]; Ex. 15 at
~4(a)   [Aff. of Christy Pack]; Ex. 3 at ~7 [Aff. ofHaila Adams]; Ex. 13 at ~5 [Aff.
of Brian Jeter].)
        As a result, Hummel was isolated from other children. He hardly left the
farm except for school and church. He did not have friends except those that were
invited over by his parents. Even kids Hummel knew that also lived out in rural
areas, "country kids," did not become friends with Hummel until he was in high


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  Post-conviction investigation has been unable to ascertain more information
regarding the Hummel family's origins. John Hummel Sr. passed away in 2005
and has no living relatives that post-conviction counsel has been able to identify.
Jackie Hummel and Neata Woody, as well as other immediate family members of
Hummel, have been contacted multiple times and have either refused to be
interviewed or have been prevented from being interviewed by other family
members.
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                                     App. 0033
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17         Page 37 of 83 PageID 210



school. Possibly because of this isolation, people found Hummel to be quiet and
odd. He was shy around other people. He would get visibly nervous whenever
kids would tease him or when he was put on the spot by an adult. He seemed
afraid to fail in front others. (Ex. 12 at ,-r12 [Aff. of Hamilton]; Ex. 15 at ,-r4(a-b)
[Aff. of Pack]; Ex. 13 at ,-r,-r2, 5 [Aff. of Jeter].)
       Neata moved away when she was seventeen and Hummel was eight.
Around that time, Hummel's uncle Thomas Hamilton moved to South Carolina
from Texas and became Hummel's support. Hamilton often babysat Hummel. He
taught Hummel to hunt and fish. Hummel would ask Hamilton to play games with
him, because Hamilton was kind to Hummel and would not get upset when
Hummel won-unlike Hummel's father. Unfortunately, Hamilton moved back to
Texas when Hummel was around thirteen. (Ex. 12 at ,-r,-r10-11 [Aff. ofHamilton].)
       Hummel's father was an obsessive and violent person. He liked to shoot
plastic toy soldier figures and then paint their "wounds" red. He also liked to pour
lighter fluid on ant hills and set them ablaze. Hummel had an opposite personality
from his father and did not obsess over guns. However, his father made Hummel
play war games with him anyway. Hummel's father was wrapped up in his own
life of work at the plant and tending the farm. He did not spend much time with
his family, preferring instead to play video games or watch TV in his free time. He
never encouraged Hummel.           So great was his absence that Hummel's teachers
were not even aware that Hummel had a father in his life. (Ex. 12 at ,-r,-r13-14 [Aff.
of Hamilton]; Ex. 3 at ,-r7 [Aff. of Adams]; Ex. 8 at ,-r4 [Aff. ofLance Dupre].)
       Hummel's mother Jackie was also wrapped up in her own life. She spent
most of her time with her own friends. She never spent time, money, or energy to
take Hummel to the movies, parks, or shopping malls, etc. Outside observers did
not think Jackie ever showed love or concern for her son. No one witnessed either


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                                         App. 0034
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17          Page 38 of 83 PageID 211


parent ever express love, give Hummel or Neata hugs or kisses, or say "I love
you." (Ex. 12 at ~15 [Aff. ofHamilton]; Ex. 15 at ~4(c) [Aff. ofPack].)
      However, Hummel's parents maintained strict control over their son's daily
life-where he went, who he would see, etc.-all while not showing him attention
or affection. The attitude they expressed to Hummel was "do your homework and
go to school and stay out of our way." As a result, Hummel spent most of his free
time in his room, playing video games or watching TV. (Ex. 12 at              ~16   [Aff. of
Hamilton]; Ex. 15   at~3(a)   [Aff. ofPack].)
    2. Teenage Years
      During his teenage years, Hummel "blended into the woodwork" at school.
He struggled with a learning disability at school, yet neither of his parents took an
interest in his schoolwork. Teachers observed that he never initiated conversations
and did not seem to interact with the other children. It was like he was hiding or
trying to avoid attention. Hummel was never aggressive, never angry, always
maintaining an even keel and acting like nothing bothered him. He did not talk
about his family. (Ex. 3 at     ~~3-6    [Aff. of Adams]; Ex. 19 at   ~7   [Aff. of Joseph
Patterson]; Ex. 10 at ~6 [Aff. ofShana Fowler].)
      Hummel's earliest friends were other boys who would help out on the
Hummel's farm.      (Ex. 13 at    ~~2,    6 [Aff. of Jeter]; Ex. 19 at     ~~2,   6 [Aff. of
Patterson].) It appeared to others that Hummel wanted closer relationships but was
unable to form them. In friendships Hummel did make, he was often manipulated
and used. For example, Hummel's friends would get him to buy things for them or
to give them rides places. Hummel wore a smile and tried to please his peers,
going out of his way to do what they wanted. As a result of this desire to please,
Hummel presented different characters of himself to his peers depending on the
audience. Some believed he was a class clown, while others described him as shy
and quiet. He played sports with some classmates, seeming athletic, while others
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                                         App. 0035
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17       Page 39 of 83 PageID 212


never believed he was athletic, preferring instead to play video games. Hummel
was influenced to be like the people around him, trying to fit in and make closer
relationships with others. (Ex. 6 at   ~~12-13   [Aff. of Chad Brown]; Ex. 8 at     ~7

[Aff. of Dupre]; Ex. 13 at   ~~3-4   [Aff. of Jeter]; Ex. 19 at   ~~3-4,   8-9 [Aff. of
Patterson]; Ex. 3 at ~11 [Aff. of Adams].)
      Hummel was often the object of ridicule. Friends made fun of his inability
to spell, saying that he was stupid, and made fun of his attempts to date girls. They
also teased him for being immature. Hummel had problems interacting socially
with his peers at their level.   He would say random things that did not make
sense-like thinking the word "corn" was a catchphrase. He could not explain
why he thought what he said was funny. He would jump into conversations of
others with comments that were immature and not relevant to what was being said.
His friends also teased him about his clothes. Hummel would wear strange shirts
with dragons, camouflage pants, and bedroom slippers that he called "moccasins."
Despite his awkwardness and his friends' taunts, Hummel continued to try to
please his friends. When he was teased or bullied, Hummel would back off, not
confronting the other individuals or getting mad. (Ex. 8 at   ~~5-7   [Aff. of Dupre];
Ex. 10 at ~~3-5 [Aff. ofFowler]; Ex. 6 at ~~10-15 [Aff. ofBrown].)
      By late high school, Hummel had developed a passion (bordering on
obsession) for role-playing games, such as Dungeons and Dragons. These games
were some of the few things that made him excited. They provided Hummel with
a way to escape his real life. Hummel would often talk about the games after they
were over, reminiscing about the game.        However, Hummel would frequently
create characters that were too complex for him to manage. It was difficult for
Hummel to mentally .keep up with the type of characters he tried to play. This lead
to poor results in the games. And while other players would use a single character,
Hummel tried to create multiple characters at the same time. He would constantly
                                         17
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                                     App. 0036
                      •
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17
                                                             •
                                                            Page 40 of 83 PageID 213


change his characters to try to be better at the game, often taking whatever
successful moves his friends did and copying them. Hummel had trouble stepping
away from the fantasy of the games. One time he tried to pull game dice out while
he was driving a car full of his friends somewhere, just to continue playing the
game. His friends had to force him to stop playing and concentrate on driving.
Whatever conversations were going on, Hummel would tum them to talking about
fantasy games. (Ex. 3 at   ~8   [Aff. of Adams]; Ex. 8 at   ~3   [Aff. of Dupre]; Ex. 6 at
~~6-9   [Aff. ofBrown].)
        During his senior year, Hummel dated Stephanie Bennett after they met
while he was working at a Hardee's fast food restaurant. After speaking on the
phone several times, and before ever going on a date in person, Hummel told
Bennett that he loved her. Bennett did not think it was normal to be that serious Iso
quickly.   From the beginning of their relationship, Hummel got very close to
Bennett and her family. He would go to church and eat with the Bennetts every
Sunday, and would spend holidays with them. Hummel would talk about his and
Bennett's future and say that they would get married.                He wanted to plan
everything about their future together. Yet, Bennett did not feel the same and
started pulling away. Hummel had no idea and thought they            wer~   going to spend
the rest of their lives together. When Bennett broke up with Hummel, he was hurt
and surprised. (Ex. 5 at ~4 [Aff. of Stephanie Bennett].)
        At the end of his senior year, Hummel graduated high school, passing his
exit exam only after receiving an accommodation for his learning disability. After
graduating, Hummel did not appear to have any goals or ambitions, nor did he get
any encouragement from his family or community. He worked at the Hardee's and
lived briefly on his own. Hummel struggled financially, and when his apartment
was broken into he was faced with the prospect of moving back in with his parents.
Instead, he chose to join the United States Marine Corps, a decision that surprised
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                                      App. 0037
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17       Page 41 of 83 PageID 214


many of his friends. To them, Hummel would not fit well in the military and the
decision to join seemed impulsive and not well thought-out. (Ex. 3 at ~~9-10 [Aff.
of Adams]; Ex. 6 at ~16 [Aff. of Brown]; Ex. 8 at ~8 [Aff. of Dupre].)
    3. Military Service
        Despite Hummel's learning disability, he was identified for service in the
intelligence division.   Hummel was tasked with plotting troop movements and
building terrain models for combat exercises, a job that matched his passion for
fantasy games. He was stationed at Camp Pendleton in Oceanside, California.
Friends back home in South Carolina noted that Hummel seemed proud to be in
the military, happy with his life, and the most physically fit he had ever been. (Ex.
29 [Military Records]; Ex. 6 at ~~17-18 [Aff. ofBrown].)
        Hummel also made strong friendships in the military. Hummel's roommate,
Wayne "Buddy" Matthias, who was also in the intelligence division, introduced
Hummel to his friends, Fred Emmer and Efrain Chaidez. The four became close
friends, spending most of their daily free time and weekends together. Although
they each had different personalities and backgrounds, they connected. Like the
others, Hummel used the military to start a new identity and new life and leave his
South Carolina past behind him. (Ex. 14 at ~~2-4 [Aff. of Wayne Matthias]; Ex. 9
at ~~2-3 [Aff. ofFred Emmer]; Ex. 7 at ~~2-4 [Aff. ofEfrain Chaidez].)
        Hummel was quiet and shy at first, but he got more comfortable and
outgoing as time went on. His friends felt he did well in the Marines and was a
dependable guy, who had their back. He was generous, friendly, and stayed out of
trouble. (Ex. 14.at ~4 [Aff. ofMatthias]; Ex. 7 at ~~5-7 [Aff. of Chaidez]; Ex. 9 at
~~3-4   [Aff. ofEmmer].)
        As time went on, Hummel's friends noticed that he began copying their
mannerisms, dressing like they did, and even getting tattoos like them. Hummel
was like a "chihuahua" following around bigger dogs. Even as he acted like his
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                                    App. 0038
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17          Page 42 of 83 PageID 215



friends, it was clear he felt like an outsider trying to fit in. His friends had to sit
him down and tell him that he had to stop copying them and that he needed to
become his own person. (Ex. 14 at        ~8   [Aff. of Matthias]; Ex. 9 at   ~9     [Aff. of
Emmer].)
      The group often drank and went to strip clubs during their free time.
Hummel became particularly absorbed with going to strip clubs and made friends
with the staff at the clubs.   He tried to show the strippers he cared for them,
offering to escort them out of the bars and getting mad at anyone who mistreated
them. However, Hummel was not a "ladies' man" and never actually dated the
strippers, or any other women. Hummel interpreted the attention he got at the strip
clubs as meaningful, when in fact these relationships were more in Hummel's mind
than in reality. Similarly, Hummel was still obsessed with role-playing games and
fantasy, to such an extent that his friends felt he was disconnected from reality and
dodging real life. (Ex. 14 at    ~~6-7   [Aff. of Matthias]; Ex. 7 at   ~~8-9       [Aff. of
Chaidez]; Ex. 9 at ~~5, 7 [Aff. ofEmmer].)
      Although Hummel had gotten fit upon entering the Marines, over time he
gained weight and was labeled what the Marines called a "Fat Body." The Marine
Corps method was to break down its members and build them into the Marine
ideal, which did not include being overweight. Those who were overweight were
put on a management program. This also meant that they could not get promoted,
even though promotions were usually automatic based on how long someone
served. As a result,· Hummel kept missing promotions and saw younger men get
promoted above him even though he had been there longer. (Ex. 9 at           ~1 0   [Aff. of
Emmer]; Ex. 14 at ~5 [Aff. of Matthias].)
      In addition to impacting his promotions, Hummel's weight made him the
object of ridicule among fellow Marines.           He was bullied by others in his
company, and given a hard time by his supervisors. Even his friends teased him,
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                                     App. 0039
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  Case 4:16-cv-00133-O Document 13 Filed 02/04/17      Page 43 of 83 PageID 216



calling him a "Fat Body" and "teddy bear." (Ex. 7 at ~10 [Aff. of Chaidez]; Ex. 9
at ~10 [Aff. ofEmmer].)
        In the spring of 2000, all three of Hummel's friends left Camp Pendleton.
Chaidez was transferred to San Diego to attend school, while Matthias and Emmer
were discharged. As a result, Hummel was left with two more years of service
without his close friends and support group. Not long after they were discharged,
Matthias and Emmer received a call that Hummel had attempted to go AWOL, but
his truck had broken down in Arizona. Matthias and Emmer picked Hummel up
and brought him back to the base. He told them that he was stressed and that he
could not handle the military without the support of his friends. (Ex. 14 at    ~~8-9

[Aff. of Matthias]; Ex. 9 at   ~~11-14   [Aff. of Emmer]; Ex. 7 at    ~12     [Aff. of
Chaidez].)
        Because he had left the base without authorization, Hummel was restricted
to the base and his security clearance was taken away. This meant he could no
longer do intelligence work and was assigned menial tasks. He was distraught
about losing his security clearance. He was no longer the friendly, outgoing person
his friends had known. He finished the remainder of his time in the Marines and
was discharged back to South Carolina. His friends from high school noticed that
he was no longer fit, assertive, confident, and proud the way he had been when he
   I

joined the military. He seemed brooding and less jovial. It seemed like he had lost
the sense of belonging that he had once had. (Ex. 14 at ~10 [Aff. of Matthias]; Ex.
9 at ~~13-14 [Aff. ofEmmer]; Ex. 7 at ~13 [Aff. of Chaidez]; Ex. 6 at   ~19   [Aff. of
Brown].)
       4. Adult Years
        Hummel returned home to South Carolina after his military discharge,
bringing with him the pregnant homeless girl Letti Ulbright. For a brief time,
Hummel held a stable job at the factor where his father worked and lived with
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                                    App. 0040
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  Case 4:16-cv-00133-O Document 13 Filed 02/04/17
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                                                        Page 44 of 83 PageID 217



Ulbright as though they were a family. However, after Hummel's sister Neata sent
Ulbright away from him, Hummel began to drift, moving from temporary job to
temporary job. His friends noticed that he now smoked and drank a lot, which he
had not done before the military. Hummel also went frequently to strip clubs.
Whereas before his time in the military Hummel occasionally visited a strip club,
now it was a "way of life" for him. These trips to strip clubs replaced his role-
playing games. Hummel took the attention from strippers seriously. He would act
like the strippers were interested' in him and wanted relationships.       Hummel
seemed like he was living in a fantasy world, out of touch with reality, spending
much of his time watching movies and at strip clubs.            (Ex. 30 [Hummel
Employment Records]; Ex. 8 at ,-r9 [Aff. of Dupre]; Ex. 6 at ,-r,-r20-23 [Aff. of
Brown].)
       Hummel started dressing in dark, gothic clothing and listening to "hard"
music. He started spending time romantically with a woman he had known in high
school, Shana Fowler, but would periodically disappear for a while and then show
back up suddenly, with no explanation. (Ex. 6 at ,-r,-r24-25 [Aff. of Brown]; Ex. 10
at ,-r,-r?-8 [Aff. ofFowler].)
       One day he simply stopped hanging around his friends altogether. When his
friends looked for him, they were told he had moved to another town in South
Carolina, and even then they could not find him. Hummel ultimately moved to
Texas to live with his cousin. Before he left, one night he visited Fowler and gave
her son some collectible figurines that he had kept pristine in their original
packaging. Fowler felt it was unusual for Hummel to give up his collectibles. He
spoke about moving to Texas, but had no plans or purpose. (Ex. 6 at ,-r26 [Aff. of
Brown]; Ex. 10 at ,-r9 [Aff. ofFowler].)
       When Hummel arrived in Texas, his extended family members noticed that
he had changed. They felt that Hummel was not the same person as he had been
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                                    App. 0041
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  Case 4:16-cv-00133-O Document 13 Filed 02/04/17       Page 45 of 83 PageID 218


growmg up. He was no longer the same active, fun kid that his uncle Thomas
Hamilton had known in South Carolina. (Ex. 12 at ~~19-20 [Aff. ofHamilton].)
      In very short succession after moving to Texas, Hummel began dating Joy
Bedford, she became pregnant, they married, and Joy gave birth to Jodi Hummel.
Hummel got work at the Williamson-Dickey clothing factory. Less than a year
later, however, Hummel injured his back at work, causing him to take medical
leave and undergo multiple surgeries.        Over the next several years, Hummel
required significant· medical care and was unable to work.        (Ex. 30 [Hummel
employment records]; Ex. 25 [Hummel medical records].)
      Hummel's lack of employment caused his family substantial financial
problems. A neighbor remembers helping Hummel to seek VA benefits from the
military. Hummel's wife worked long hours as a massage therapist and would tell
their neighbor, George Goodson, about how hard times were for the family.
Goodson gave the family a computer and sold them one of his cars to help out. In
addition to his back injury Hummel developed Crohn's disease, which further
debilitated him. Ultimately, finances got so bad that Goodson helped Hummel and
his family move into Joy's father's home.        (Ex. 11 at   ~~2-8   [Aff. of George
Goodson].)
      The Hummels attended a Sunday school class at Shady Oaks Baptist Church
in Hurst, Texas, where they met Chris and Tonya Paris. The families became close
friends and their kids frequently played together.     Chris Paris remembers that
Hummel and Joy had opposite personalities, with Joy being social and outgoing
while Hummel was very quiet and reserved. Hummel was friendly, though, and
would cook meals for parties-even though he could not eat the meals because of
the special diet required by his Crohn' s disease. Hummel tried to interact with
people and appeared to be a good father to Jodi.        (Ex. 16 at     ~~2-3   [Aff. of
Christopher Paris]; Ex. 17 at ~~2-3 [Aff. ofTonya Paris].)
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                                    App. 0042
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  Case 4:16-cv-00133-O Document 13 Filed 02/04/17            Page 46 of 83 PageID 219


       Hummel would share facts of his life with others, but never opened up about
his feelings or problems. Chris Paris knew that Hummel had been in the military,
but Hummel never talked about what that experience had been like for him.
Hummel also never opened up about the impact of his medical problems and how
his pain bothered him. (Ex. 16 at ljfljf4- 5 [Aff. of Chris Paris].)
       The Parises knew of the Hummels' financial problems and that Hummel had
been unemployed for a long time. Joy worked very hard, even going to friends'
houses after work to give massages and getting home very late. The Parises helped
out when they could, including fixing Hummel's roof so that they could get house
msurance.     Chris Paris also helped fix Hummel's truck and paid for a down
payment on a van when the truck later was in an accident. (Ex. 16 at ljfljf6-7 [Aff. of
Chris Paris].)
       Hummel, his family, and his friends were very excited in 2009 when
Hummel was able to get work as a night security guard. The job seemed to pull
Hummel out of a slump and gave him pride. A drawback to the job, though, was
that Hummel was not around his family and friends as much, since he worked
nights. He began missing church and other social events. (Ex. 16 at ljf8 [Aff. of
Chris Paris].)
       This separation, and a strained marriage, led Hummel to begin an affair in
late 2009. His friends could tell there were tensions between Hummel and Joy.
The Parises tried to offer their support to help Hummel and Joy repair their
marriage. A month before the crime occurred, at a church conference, Joy spoke to
Tonya Paris about the strain between her and Hummel. When Hummel picked up
Joy from the conference, Chris Paris could tell there was something wrong
between them. (Ex. 17 at ljf4 [Aff. of Tonya Paris]; Ex. 16 at ljf9 [Aff. of Chris
Paris].)


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                                       App. 0043
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  Case 4:16-cv-00133-O Document 13 Filed 02/04/17              Page 47 of 83 PageID 220



        When the crime occurred and the word of it spread, Hummel's friends were
shocked and surprised.        People that grew up with him in South Carolina, his
military friends, and his newest friends in Fort Worth felt the crime was out of
character for the Hummel they knew.              No one ever experienced any anger or
violence from Hummel.             When his military friends heard that Hummel had
traveled back to California after the crime, it seemed to them that Hummel was
"chasing 1999" and trying to get back to a place where he was happy. (Ex. 19 at
~9   [Aff. of Patterson]; Ex. 13 at   ~8   [Aff. of Jeter]; Ex. 7 at   ~14   [Aff. of Chaidez];
Ex. 14 at   ~11   [Aff. of Matthias]; Ex. 9 at   ~15   [Aff. of Emmer]; Ex. 11 at      ~9   [Aff.
of Goodson]; Ex. 17 at       ~5   [Aff. of Tonya Paris]; Ex. 16 at       ~1 0   [Aff. of Chris
Paris].)
                                              III.
                                  STANDARD OF CARE

     A. Ineffective Assistance of Trial Counsel
        A criminal defendant is guaranteed the right to trial representation. This
Sixth Amendment right to counsel "preserves the fairness, consistency, and
reliability of criminal proceedings by ensuring that the process is an adversarial
one." Ex parte Flores, 387 S.W.3d 626, 633 (Tex. Crim. App. 2012).
        An ineffective assistance of counsel claim has two components: Hummel
must show that counsel's performance was deficient, and that the deficiency
prejudiced the defense.       Strickland v. Washington, 466 U.S. 668, 687 (1984);
Porter v. McCollum, 558 U.S. 30, 38-39 (2009); Wiggins v. Smith, 539 U.S. 510,
521 (2003); Virgil v. Dretke, 446 F.3d 598, 608 (5th Cir. 2006); Ex parte Jimenez,
364 S.W.3d 866, 883 (Tex. Crim. App. 2012); Thompson v. State, 9 S.W.3d 808,
812 (Tex. Crim. App. 1999) ("[A]ppellant must show a reasonable probability that,
but for counsel's unprofessional errors, the result of the proceeding would have
been different.").
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                                           App. 0044
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  Case 4:16-cv-00133-O Document 13 Filed 02/04/17          Page 48 of 83 PageID 221



      To establish deficiency, Hummel must show his counsel's representation fell
below an objective standard of reasonableness. Porter, 558 U.S. at 38-39 (quoting
Strickland, 466 U.S. at 688). A defendant need only prove ineffective assistance of
counsel by a preponderance of the evidence. Thompson, 9 S.W.3d at 813. This
standard governs the claim as a whole, and does not replace the more lenient
"reasonable probability" standard for the prejudice prong.
      The Supreme Court has reiterated that it applies a "case-by-case approach to
determining whether an attorney's performance was unconstitutionally deficient
under Strickland." Rompilla v. Beard, 545 U.S. 374, 393-94 (2005) (O'Connor, J.,
concurring) (citing Strickland, 466 U.S. 668).
      Deficient performance is performance that is "inconsistent with the standard
of professional competence in capital cases that prevailed [at the time of the trial]."
Cullen v. Pinholster, _U.S._, 131 S. Ct. 1388, 1407 (2011). The Supreme Court
has repeatedly assessed the reasonableness of counsel's performance by looking to
"[p]revailing norms of practice as reflected in [the] American .Bar Association
standards." Strickland, 466 U.S. at 688; see also Padilla v. Kentucky, 559 U.S.
356, 130 S. Ct. 1473, 1482 (2010) (ABA Standards "may be valuable measures of
the prevailing professional norms of effective representation"); Rompilla, 545 U.S.
at 387 ('"[W]e long have referred [to the ABA Standards for Criminal Justice] as
"guides to determining what is   reasonable~""')   (quoting Wiggins, 539 U.S. at 524).
Because adequacy is based upon "counsel's perspective at the time," Strickland,
466 U.S. at 689, courts must look to the guidelines then in effect. See Bobby v.
Van Hook, 558 U.S. 4 (2009).
      At the time of Hummel's trial, his attorneys' obligations were governed by
the "prevailing professional norms," even if those norms did not align with a less
rigorous defense based on "most common customs." Harrington v. Richter, _
U.S._, 131 S. Ct. 770, 788 (2011). The Supreme Court instructs courts to look at
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                                     App. 0045
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17       Page 49 of 83 PageID 222


the "norms of practice as reflected in the American Bar Association and the like"
and to consider "all the circumstances" of a case. Strickland, 466 U.S. at 688.
These sources of norms include the ABA Guidelines for the Appointment and
Performance of Defense Counsel in Death Penalty Cases 2003, 31 HOFSTRA L.
REv. 913 (2003) ("ABA Guidelines") and the ABA Standards for Criminal Justice
(3d ed. 1993) ("ABA Standards"); see also State Bar of Texas, Guidelines and
Standards for Texas Capital Counsel (April21, 2006) ("Texas Guidelines").
      Defense counsel has a duty to make reasonable investigations or to make a
reasonable decision that makes particular investigations unnecessary.       Wiggins,
539 U.S. at 521; Strickland, 466 U.S. at 690-91. "[The] Guidelines applied the
clear requirements for investigation set forth in the earlier Standards to death
penalty cases and imposed ... similarly forceful directive[s]." Rompilla, 545 U.S.
at 387 n.7. Pursuant to the ABA Guidelines, counsel was required to conduct
"thorough and independent investigations relating to the issues of both guilt and
penalty." ABA Guidelines, Guideline 10.7. A court must consider not only the
quantum of evidence already known to counsel, but also whether the known
evidence would lead a reasonable attorney to investigate further. Miller v. Dretke,
420 F.3d 356, 361 (5th Cir. 2005); Wiggins, 539 U.S. at 521.         When defense
counsel is not aware of the relevant mitigating evidence, "the issue is not whether
he was ineffective for failing to present [the] evidence ... , but rather whether he
failed to conduct a reasonable investigation to uncover mitigating evidence." Ex
parte Gonzales, 204 S.W.3d 391, 396 (Tex. Crim. App. 2006).
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      Similarly, the ABA Standards state that counsel "should conduct a prompt
investigation of the circumstances of the case and explore all avenues leading to
facts relevant to the merits of the case and the penalty." ABA Standards, Standard
4-4.1 (emphasis added); Texas Guidelines, Guideline 11.1. Most significantly,
"[t]he duty to investigate exists regardless of the accused's admissions or
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                                    App. 0046
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  Case 4:16-cv-00133-O Document 13 Filed 02/04/17
                                                            •
                                                          Page 50 of 83 PageID 223



statements to defense counsel of facts constituting guilt or the accused's stated
desire to plead guilty." Id. Similarly, the duty to investigate may exist despite the
accused's failure to mention potentially mitigating evidence or the accused's
affirmative denial that such evidence exists. Rompilla, 545 U.S. at 377; Ex parte
Gonzales, 204 S.W.3d at 396.
      Once capital trial counsel completes the necessary pretrial investigation, he
must then formulate a defense theory "that will be effective in connection with
both guilt and penalty, and should seek to minimize any inconsistencies." ABA
Guidelines, Guideline 10.10.1. The CCA holds capital counsel to an even higher
standard: "It is not sufficient to inquire generally and leave it up to the defendant to
raise topics or respond to open-ended questions. Like a doctor, [capital] defense
counsel must be armed with a comprehensive check-list of possibilities, and
forcefully inquire about each topic." Ex parte Gonzales, 204 S.W.3d at 400-01
(Cochran, J., concurring).
      To establish prejudice, Hummel "must show that there is a reasonable
probability that, but for counsel's unprofessional errors, the result of the
proceeding would have been different." Strickland, 466 U.S. at 694. A reasonable
probability is "a probability sufficient to undermine confidence in [the] outcome."
Porter, 130 S. Ct. at 455-56 (quoting Strickland, 466 U.S. at 693-94). Hummel
need not show that counsel's deficient conduct "more likely than not altered the
outcome" in his case, Strickland, 466 U.S. at 693, but he must demonstrate that
"the likelihood of a different result [is] substantial, not just conceivable." Richter,
131 S. Ct. at 792.      State courts "must decide whether the undiscovered and
unoffered evidence would have created a reasonable probability that, had the jury
heard it, the jury's verdict would have been different." Ex parte Martinez, 195
S.W.3d 713, 731 (Tex. Crim. App. 2006).


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                                     App. 0047
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  Case 4:16-cv-00133-O Document 13 Filed 02/04/17
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                                                         Page 51 of 83 PageID 224


         State post-conviction courts must analyze a capital penalty phase
ineffectiveness claim by "reweigh[ing] the evidence in aggravation against the
totality of available mitigating evidence." Wiggins, 539 U.S. at 534. It is not
necessary for the petitioner to demonstrate that the newly presented mitigation
evidence would necessarily overcome the aggravating circumstances. Williams v.
Taylor, 529 U.S. 362, 394-98 (2000). The Constitution requires that state post-
conviction courts "engage with what [a defendant] actually went through," as
expressed in mitigating evidence. Porter, 558 U.S. at 44. It is not only incorrect
but "[i]t is unreasonable to discount to irrelevance [mitigating] evidence ... [or] to
conclude that [certain mitigating evidence] would be reduced to inconsequential
proportions simply because the jury would also have learned [of related
aggravating evidence.]" Jd. The Texas Court of Criminal appeals "[has] adapted
the Supreme Court's prejudice test to require that there is a reasonable probability
that, absent the errors, the jury would have answered the mitigation issue
differently." Ex parte Gonzales, 204 S.W.3d at 394.
   B. Ineffective Assistance of Appellate Counsel
         Ineffective assistance of appellate counsel claims are governed by
Strickland. Smith v. Robbins, 528 U.S. 259, 285 (2000) ("the proper standard for
evaluating [a petitioner's] claim that appellate counsel was ineffective ... is that
enunciated in Strickland v. Washington"); Evitts v. Lucey, 469 U.S. 387, 396-97
(1985) (the Fourteenth Amendment requires the assistance of counsel to appellants
for their first appeal as of right); accord Ries v. Quarterman, 522 F.3d 517, 531-32
(5th Cir. 2008); Ex parte Santana, 227 S.W.3d 700, 704-05 (Tex. Crim. App.
2007).




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                                     App. 0048
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17
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                                                          Page 52 of 83 PageID 225


      An appellate counsel has a duty to review the record and present any
potentially meritorious claims. Meza v .State, 206 S. W.3d 684, 689 (Tex. Crim.
App. 2006) (noting appellate counsel's "constitutional duty to review the record
for any arguable error").
                                          IV.
                                    ARGUMENT

                                    CLAIM ONE
    HUMMEL WAS DENIED HIS DUE PROCESS RIGHT TO AN
IMPARTIAL JURY WHEN JUROR DAVIS COMMITTED MISCONDUCT
          BY AUTOMATICALLY VOTING FOR DEATH

      Some constitutional rights are so basic to a fair trial that their denial can
never be treated as harmless error. Chapman v. California, 386 U.S. 18, 23 (1967).
"The right to jury trial guarantees to the criminally accused a fair trial by a panel of
impartial, 'indifferent' jurors." Irvin v. Dowd, 366 U.S. 717, 722 (1961); see also
Franklin v. State, 138 S.W.3d 351, 354 (Tex. Crim. App. 2004) ("The Sixth
Amendment guarantees the right to a trial before an impartial jury."). And the
violation of this right, like the violation of the right to counsel and the right to an
impartial judge, undermines the integrity of the trial itself and necessitates a
reversal without a showing of prejudice. Rose v. Clark, 478 U.S. 570, 578 (1986)
(Harmless error analysis "presupposes a trial, at which the defendant, represented
by counsel, may present evidence and argument before an impartial judge and
jury."); Irvin, 366 U.S. at 722 ("The failure to accord an accused a fair hearing
violates even the minimal standards of due process.").
      During jury selection for Hummel's capital trial, Juror Davis agreed that he
would not vote for a death sentence before hearing and considering evidence
presented at the punishment phase of Hummel's trial. He affirmed this by taking
the juror's oath. Yet prior to the conclusion of the guilt/innocence phase evidence

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                                     App. 0049
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17         Page 53 of 83 PageID 226


presentation, Juror Davis made up his mind not only to find Hummel guilty, but
also to vote for a death sentence. Because of this misconduct, Hummel was denied
his constitutionally protected, due process right to be tried before an impartial jury.
As such, his sentence violates applicable state and federal Constitutional rights,
state statutory law, and United States Supreme Court and state case law, and
should therefore be reversed.
   A. Legal Standard
         "From the very beginning, our state and national constitutions and laws have
laid great emphasis on procedural and substantive safeguards designed to assure
fair trials before impartial tribunals in which every defendant stands equal before
the law." Gideon v.· Wainwright, 372 U.S. 335, 344 (1963) (emphasis added). The
very nature of the voir dire process is designed to seat jurors who are fair, open-
minded, and unbiased. Each juror selected swears to abide by and fulfill certain
oaths, duties, and admonitions. These promises include, among other things, that
each juror will pay close attention and consider all of the evidence admitted by the
court.     (33 RR at 10-11.)      When any juror violates these promises, either
intentionally or inadvertently, the defendant's Sixth Amendment right to a trial by
an impartial jury is threatened. See United States v. York, 600 F.3d 347, 356 (5th
Cir. 2010) ("Under the Sixth Amendment, every defendant has the right to trial by
an impartial jury.     Deliberations prior to the close of evidence threaten that
impartiality.") (internal citations omitted).
         To be considered an impartial jury in a capital case, jurors must not simply
meet typical standards regarding biases and prejudices; they must also be able to
consider whether evidence presented by the defense is mitigating.          Morgan v.
Illinois, 504 U.S. 719, 729 (1992) ("A juror who will automatically vote for the
death penalty in every case will fail in good faith to consider the evidence of
aggravating and mitigating circumstances as the instructions require him to do.").
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                                      App. 0050
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17       Page 54 of 83 PageID 227


      "[T]he Eighth and Fourteenth Amendments require that the sentencer ... not
be precluded from considering, as a mitigating factor, any aspect of a defendant's
character or record and any of the circumstances of the offense that the defendant
proffers as a basis for a sentence less than death."     Lockett, 438 U.S. at 604
(emphasis in original) (plurality opinion); accord Abdul-Kabir v. Quarterman, 550
U.S. 233, 234 (2007). The corollary that "the sentencer may not refuse to consider
... relevant mitigating evidence" is equally "well established." Skipper v. South
Carolina, 476 U.S. 1, 4 (1986) (emphasis added; internal quotations omitted).
      Furthermore, each juror individually must be able to consider mitigating
evidence, since "[t]he measure of a jury is taken by reference to the impartiality of
each, individual juror." Morgan, 504 U.S. at 734 n.8. The importance of this focus
on individual jurors is highlighted by the vast amounts of time and resources that
are spent on individualized voir dire in capital cases. Cf Gideon, 372 U.S. ·at 344
(noting that "reason and reflection" indicate the obvious need for appointed
counsel because "[g]ovemments, both state and federal, quite properly spend vast
sums of money to establish machinery to try defendants accused of crime.").
      A juror who does not consider the evidence presented by the defendant
during the punishment phase of trial, but instead automatically votes for death
based on a finding of guilt, commits misconduct and violates the defendant's due
process rights.   Morgan, 504 U.S. at 735 ("[T]he belief that death should be
imposed ipso facto upon conviction of a capital offense reflects directly on that
individual's inability to follow the law.").




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                                     App. 0051
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17           Page 55 of 83 PageID 228


   B. Juror Davis Automatically Voted for Death Based on Testimony During
      the Guilt/Innocence Phase Evidence
      Juror Davis was individually questioned on May 19, 2011. (22 RR at 150.)
Davis was accepted by both sides to be seated as a juror in Hummel's trial. Along
with the other jurors, he was sworn in on June 13, 2011, and took an oath that he
would consider all evidence and pay close attention throughout the trial. (Id. at
10.) Additionally, the oath stated, "You must not be influenced in any degree by
any personal feeling of sympathy for or prejudice against the State or the
Defendant in this case, for each is entitled to the same fair and impartial
consideration." (Id. at 13.) Juror Davis also stated several times throughout his
individual voir dire that he would render a verdict based on the law and evidence
of the case and set his feelings aside. (See, e.g., id. at 162.)
      During post-conviction habeas investigation, however, juror Davis revealed
that he had not followed his promises to counsel or his oath. Davis met with a
post-conviction investigator and discussed his participation in Hummel's trial.
Davis revealed that he had not considered any of the evidence presented during the
punishment phase of trial. Instead, Davis stated:
      The turning point for me was during the guilt phase when the woman
      Hummel had an affair with testified. At that point I made up my mind
      and decided Hummel should get the death penalty. There is nothing
      his attorneys could have said that would have made a difference to
      me.
      After deciding Hummel should get the death penalty, the rest of the
      trial felt like a formality. We answered the punishment phase
      questions, but my mind was already made up.

(Ex. 22   at~~   4-5 [Aff. of Juror Davis].)
      In making these statements, Davis revealed that he had violated his oath,
deciding Hummel's guilt and automatically assigning a death sentence before the
conclusion of the prosecution's evidence at the guilt/innocence phase.

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                                        App. 0052
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17        Page 56 of 83 PageID 229


   C. Juror Davis's Misconduct Entitles Hummel to a New Trial
         Juror Davis made his decision that Hummel was guilty and deserved a death
sentence prior to the conclusion of evidence during the guilt/innocence phase.
Therefore, his decision to find Hummel guilty was based solely on a partial
presentation of the State's evidence. When Davis was sworn in at the beginning of
the trial, he received the following instruction from the trial court: "Since you will
need to consider all the evidence admitted by me, it is important that you pay close
attention to the evidence as it's presented." (3 3 RR at 10-11.) The trial court
further reminded jurors in the charge that "it is your sworn duty to follow all of the
rules of law as I explain them to you."        (4 CR at 709.) In several locations
throughout the charge jurors were instructed on their duty to make a determination
as to the defendant's guilt "after careful and impartial consideration of all the
evidence in the case." (4 CR at 710, 717.) Juror Davis clearly disregarded all of
these instructions when he determined Hummel's guilt prior to hearing all of the
evidence in the case.
         Jurors who prematurely decide guilt in a case reach conclusions most likely
unfavorable to the defendant before the defense has a chance to present its case or
the court has the opportunity to properly instruct the jury.      When jurors form
prematl}re conclusions about a case, the burden of proof will have been, in effect,
shifted from the State to the defendant, who then has "the burden of changing by
evidence the opinion thus formed." York, 600 F.3d at 357 (quoting United States
v. Resko, 3 F.3d 684, 689 (3d Cir. 1993). Therefore, requiring a juror to consider
all of the evidence in the case prior to making a determination of guilt protects a
defendant's Sixth Amendment right to a fair trial as well as his due process rights
and insures the burden remains on the State to prove the case beyond a reasonable
doubt.


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                                     App. 0053
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17        Page 57 of 83 PageID 230


      Juror Davis's refusal to consider all evidence pnor to making a
determination of guilt denied Hummel the right to an impartial jury for the
guilt/innocence phase. As such, Hummel's conviction should be reversed and he
should be afforded a new trial.
   D. Juror Davis's Misconduct Entitles Hummel to a New Punishment Phase
      Independently, because Juror Davis's decision was made prior to the
presentation of any evidence at the punishment phase, he was constitutionally
impaired from being an impartial juror during the punishment phase. Morgan, 504
U.S. at 729 ("A juror who will automatically vote for the death penalty in every
case will fail in good faith to consider the evidence of aggravating and mitigating
circumstances as the instructions require him to do").
      Automatically voting for death after a finding of guilt essentially erases the
State's burden to prove beyond a reasonable doubt that a defendant will be a
continuing threat to society.     Further, it signifies that the juror has refused to
consider any of the evidence presented during the punishment phase that might
mitigate against a death sentence. Skipper, 476 U.S. at 4 (noting that a "sentencer
may not refuse to consider" mitigation evidence).
      As such, Hummel was denied his right to an impartial jury during the
punishment phase of his trial. Cf Munroe v. State, 637 S.W.2d 475, 478 (Tex.
Crim. App. 1982) (recognizing that a defendant is denied a fair and impartial trial
when a single juror. increases punishment based on impermissible discussion of
parole law); Bennett v. State, 738 S.W.2d 33, 34 (Tex. App.-Texarkana 1987, no
pet.) (finding defendant was denied right to trial by impartial jury when evidence
revealed that the jury determined sentence before hearing evidence on
punishment). Because of this, his sentence of death should be vacated.




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                                      App. 0054
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17



   E. Conclusion
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                                                       Page 58 of 83 PageID 231




      Juror Davis's decision to convict Hummel before the end of the
guilt/innocence presentation, and his subsequent refusal to hold the State to their
burden for the futUre dangerousness special issue or to consider mitigating
evidence presented during the punishment phase of trial, violated the oath he took
as a juror and denied Hummel his core constitutional right to twelve impartial
jurors. Parker v. Gladden, 385 U.S. 363, 366 (1966) ("[P]etitioner was entitled to
be tried by 12, not 9 or even 10, impartial and unprejudiced jurors.").        The
presence of a juror who automatically assigned the death penalty violated
Hummel's due process rights.     See Morgan, 504 U.S. at 727 ("The failure to
accord an accused a fair hearing violates even the minimal standards of due
process.").   Thus, Hummel's conviction and sentence are unconstitutional and
cannot be carried out. !d. at 729 ("If even one such juror is empaneled and the
death sentence is imposed, the State is disentitled to execute the sentence."). His
conviction and sentence of death should be reversed.
                                  CLAIM TWO
HUMMEL'S TRIAL AND APPELLATE COUNSEL WERE INEFFECTIVE
   IN FAILING TO ARGUE THAT THE STATE'S EVIDENCE WAS
          INSUFFICIENT TO SHOW FUTURE DANGER

      The evidence presented by the State during the punishment phase regarding
Hummel's potential for future acts of violence can only be described as marginal.
Hummel had no criminal record and no history of disciplinary incidents while in
custody before trial.   The State failed even to present anecdotal evidence that
Hummel had committed any type of aggressive or violent actions in his childhood,
teenage years, or adult life, before the days leading up to the crime.         The
prosecution relied almost exclusively on the facts of the crime as aggravating



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                                   App. 0055
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17


evidence.
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                                                        Page 59 of 83 PageID 232


             Yet, those facts were insufficient to suggest Hummel had any
probability of committing violent acts in the future.
      As such, the prosecution's evidence was legally insufficient for a jury to find
beyond a reasonable doubt that there was a probability Hummel would be a future
danger. Jackson, 443 U.S. at 316 ("no person shall be made to suffer the onus of a
criminal conviction except upon sufficient proof-defined as evidence necessary to
convince a trier of fact beyond a reasonable doubt of the existence of every
element of the offense."). However, neither trial nor appellate counsel argued this
to the Court. Because counsel failed to argue that the evidence was insufficient,
Hummel's rights were violated under the state and federal Constitutions, state
statutory law, and United States Supreme Court and state case law. His death
sentence should be reversed.
   A. Relevant Facts
      The prosecution's presentation at the punishment phase of trial regarding
Hummel's likelihood of violence focused almost entirely on Hummel's actions
surrounding the crime.     Kennedale Police Department investigator James Rizy
testified that Hummel had attempted to poison his family two days before the
crime occurred. (41 RR at 8-31.) Besides the crime itself, this was the only act of
violence or even attempt at violence the prosecution pointed to in Hummel's past.
The remainder of the State's punishment case consisted of testimony regarding
Hummel's trips to strip clubs and viewing of pornography, his use of marijuana
and other drugs, and that Hummel was a below average employee. (See 42 RR at
5, 23, 72, 95, 109.) In rebuttal to the defense's punishment presentation, the State
called two military servicemen to testify that Hummel was a below average
Marine, who was counseled for going to strip clubs and whose security clearance
was revoked. (See 45 RR at 6, 32.)


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                                     App. 0056
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  Case 4:16-cv-00133-O Document 13 Filed 02/04/17       Page 60 of 83 PageID 233



      In closing argument, the prosecution described Hummel as a "monster" and
an "animal," stating that he was a future danger because of his attempt, and then
murder of, his family. (45 RR at 59, 62-64, 85-87.)
   B. The Evidence at Trial Was Legally Insufficient to Support the Jury's
      Finding That There Was a Probability That Hummel Would Commit
      Future Acts of Violence
      Although the CCA has held that the facts of a particular crime and the
circumstances surrounding it can support a finding of future dangerousness, it does
not follow that the underlying facts alone in all cases will provide such support.
See, e.g., Valle v. State, 109 S.W.3d 500, 503 (Tex. Crim. App. 2003).          For
example, in Wallace v. State, the defendant was found guilty of capital murder in
the course of a robbery and sentenced to death. 618 S.W.2d 67, 68 (Tex. Crim.
App. 1981). The State's only evidence regarding whether the defendant would
commit future violent acts was the defendant's own admission on cross-
examination that he had attempted a robbery a few weeks before the murder, and
that the defendant had a military violation for being absent without leave. !d. at
68-69. According to the CCA, "[t]here was no other evidence presented that could
be considered relevant to the issue of future violent conduct. Specifically, there
was no evidence of prior convictions, no prior acts of violence, no character
evidence, no psychiatric evidence." !d. at 69. The CCA found the evidence of
future violent conduct to be legally insufficient, and reformed the defendant's
punishment to life imprisonment. !d.
      Similarly, in Berry v. State, the defendant was found guilty of murdering her
infant son and sentenced to death. 233 S. W.3d 84 7, 850-51 (Tex. Crim. App.
2007). Evidence at punishment showed that Berry had abandoned one of her other
children as well. !d. at 861. The State argued that because there was a possibility,
albeit a slim one, that she could become pregnant in prison, she posed a danger to


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                                    App. 0057
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  Case 4:16-cv-00133-O Document 13 Filed 02/04/17       Page 61 of 83 PageID 234



any hypothetical future children. Jd. at 862, 864. The CCA held that the evidence
indicated that the defendant had only ever been dangerous to two of her children,
and had not "harmed or attempted to harm any of her other children, an unrelated
child, or any other person." Id. at 864. Because there was a very low probability
she would have any more children, the Court found it unlikely that she would be a
future danger, and reformed her sentence to one of life imprisonment. !d.
      The fact patterns of Wallace and Berry mirror the evidence presented during
Hummel's punishment phase. Besides the underlying crime itself, the only other
evidence of violence the State introduced was Hummel's thwarted attempt to
poison his family shortly before the murders.       As in Wallace, "there was no
evidence of prior convictions, no prior acts of violence, no character evidence, no
psychiatric evidence" presented by the State. 618 S.W.2d at 69. The rest of the
State's case at punishment consisted of testimony that Hummel frequented strip
clubs, occasionally used illicit drugs, and looked at pornography on a computer at
work. While these behaviors may not have painted Hummel in the most flattering
light, these prior acts are legally insufficient to support a finding that there is a
probability that Hummel would commit future acts of criminal violence. See also
Beltran v. State, 728 S.W.2d 382, 390 (Tex. Crim. App. 1987) (defendant's
multiple convictions for drunk driving were not criminal acts of violence and thus
did not support a finding of future dangerousness); Keeton v. State, 724 S.W.2d 58,
60-61, 64 (Tex. Crim. App. 1987) (prior conviction for possession of marijuana
and uncooperativeness during probation were not sufficient for a finding of future
dangerousness); Wallace, 618 S.W. 2d at 68-69; Warren v. State, 562 S.W.2d 474,
477 (Tex. Crim. App. 1981) (a prior felony theft conviction was insufficient to
sustain a finding of future dangerousness).
      Further, Hummel was found guilty of killing his family, but this was the
only violent or criminal act proved beyond a reasonable doubt before the jury.
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                                    App. 0058
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17         Page 62 of 83 PageID 235



Like the defendant in Berry, had Hummel received a sentence of life without
parole there is no possibility he would have the opportunity to start a family, or
undergo the familial and financial stressors he was experiencing at the time of the
crime. (See Ex. 1 at   ~59   [Aff. of Dr. Susan Hardesty].) As such, Berry clearly
establishes that a rational jury would, have necessarily entertained a reasonable
doubt as to whether Hummel was a future danger solely on the basis of his crime.
   C. Trial and Appellate Counsel Were Ineffective for Failing to Argue That
      The Evidence at Trial Was Legally Insufficient to Support the Jury's
      Finding of Future Dangerousness
      Despite the lack of evidence of future dangerousness presented by the State,
and the precedential cases of Wallace and Berry, neither trial counsel nor appellate
counsel raised a claim that the State's evidence of future dangerousness was
insufficient to support the jury's verdict. Counsels' failure to argue this point was
objectively unreasonable. Ex parte Santana, 227 S.W.3d at 704-05 (noting that
appellate counsel, like trial counsel, is held to a Strickland standard of professional
responsibility). If "a rational jury would have necessarily entertained a reasonable
doubt as to the probability of [an] appellant's dangerousness in the future," the trial
court's judgment must be changed to one of life imprisonment. Berry, 233 S.W.3d
at 860. Hummel's sentence should be vacated and reformed to life in prison, or
remanded for a new punishment phase of trial.
                                  CLAIM THREE
  TRIAL COUNSEL WAS INEFFECTIVE FOR FAILING TO PRESENT
    EVIDENCE THAT HUMMEL WAS NOT A FUTURE DANGER
      The first of two questions the Hummel jury had to answer following the
punishment phase was "Whether there is a probability that the defendant would
commit criminal acts of violence that would constitute a continuing threat to
society." (CR at 726.) The State had the burden of proving beyond a reasonable
doubt that the answer to this question was "Yes." (!d.) Trial counsel, however,
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                                     App. 0059
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17           Page 63 of 83 PageID 236



was ineffective for failing to present available evidence that would have convinced
the jurors to answer this question "No," thereby guaranteeing a life sentence for
Hummel. See Jurek v. Texas, 428 U.S. 262, 274-75 (1976) ("prediction of future
criminal conduct is an essential element in many of the decisions rendered
throughout our criminal justice system."); ABA Guidelines, Guideline 10.11
(commentary), ("Studies show that 'future dangerousness is on the minds of most
capital jurors, and is thus at issue in virtually all capital trials,' whether or not it is
argued by the prosecution or is a statutorily mandated sentencing consideration."
(internal quotation marks omitted)).
       Counsel failed to present affirmative evidence in the form of lay witnesses,
expert witnesses, jail records, and criminal background records that would have
rebutted the State's assertion that Hummel was a "future danger." Trial counsel
could and should have elicited testimony from several Officers at the Tarrant
County Jail, who would have testified that Hummel was not classified as "High
Risk," that Hummel got along with officers and other inmates, and that Hummel
was not aggressive or threatening. Though counsel did present testimony from a
prison classification expert, counsel also should have presented testimony from a
behavioral or mental health expert to discuss how Hummel's personality and past
history indicated that it was unlikely that he would commit future acts of criminal
violence.
      Trial counsel's failure to present evidence that would have convinced the
JUry that Hummel was not a future danger was objectively unreasonable and
Hummel suffered prejudice. Because Hummel's rights under the state and Federal
Constitutions, state statutory, and United States Supreme Court and state case law
were violated, Hummel is entitled to a new punishment phase trial.




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                                       App. 0060
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  Case 4:16-cv-00133-O Document 13 Filed 02/04/17          Page 64 of 83 PageID 237



   A. Trial Counsel's Performance Was Unreasonable for Failing to Present
      Evidence That Hummel Was Not a Future Danger
      During the punishment phase, trial counsel called Frank AuBuchon, a
former Texas Department of Criminal Justice ("TDCJ") classifications officer, to
educate the jury about the prison system in Texas, including how inmates were
classified and the various security features of TDCJ prisons.          (44 RR at 34,
passim.) AuBuchon did not meet or interview Hummel, but testified in broad
terms that Hummel would do well in the prison system based on his good behavior
in county jail and his military record. (!d. at 73.) However, trial counsel did not
admit any records relatin'g to Hummel's time in the Tarrant County jail nor his
time in the military.
      The presentation of a prison classification expert alone, without any further
evidence that Hummel as an individual would have not posed a danger in the
future, fell short of offering relevant evidence to the jury's determination of the
first special issue.    The CCA has stated that the future danger special issue
"focuses upon the character for violence of the particular individual, not merely the
quantity or quality of the institutional restraints put on that person." Coble v. State,
330 S.W.3d 253, 268 (Tex. Crim. App. 2010). While it is "theoretically possible to
devise a prison environment so confining, isolated, and highly structured that
virtually no one could have the opportunity to commit an act of violence, . . .
incapacitation is not the sole focus of the Legislature or of our death penalty
precedents." Id. at 269. Thus, although AuBuchon could offer evidence that the
TDCJ system would be able to minimize any risk of danger from Hummel, this
testimony did little to address the more important question of whether there was
any likelihood that Hummel posed a danger in the future. Instead, trial counsel
should have presented readily available lay and witness testimony that would have
addressed this question, as discussed below.

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                                      App. 0061
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  Case 4:16-cv-00133-O Document 13 Filed 02/04/17
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                                                        Page 65 of 83 PageID 238



   B. Hummel Was Prejudiced by Trial Counsel's Failure to Present Readily
      Available Evidence That Hummel Would Not Constitute a Future
      Danger to Society
      Had trial counsel thoroughly investigated the matter of whether Hummel
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was a future danger, counsel would have discovered several sheriffs officers at the
Tarrant County jail who could have testified to Hummel's good behavior during
his time in custody before and during trial. Additionally, trial counsel should have
employed an expert witness to discuss why Hummel's past behavioral patterns and
mental health status indicated that he would likely not be a future danger in a
prison setting. Trial counsel's failure to investigate and present this evidence was
unreasonable and objectively deficient.
     1. Behavior in Tarrant County Jail
      Inmates who have had disciplinary problems during previous periods of
incarceration are more likely to commit future acts of criminal violence in prison.
See Mark D. Cunningham et al., Serious Assaults on Prison Staff, 39 J. CRIM.
JUSTICE   143, 147 (2011). Common sense suggests the opposite then to be true. As
such, trial counsel should have presented testimony from witnesses with personal
knowledge of Hummel's good behavior in the Tarrant County jail, as well as jail
records that confirm the same.
      New inmates are sorted into classifications upon arrival at the Tarrant
County jail according to their respective risk level. (Ex. 20 at   ~2   [Aff. of Tommy
Rigmaiden].) "High Risk" inmates wear red uniforms and general population (or
low risk) inmates wear green uniforms. (Ex. 26 at 6 [Tarrant County Jail Dress
Code Policy]; Ex. 20 at   ~~2-4   [Aff. of Rigmaiden].) Inmates are classified as
"High Risk" if they are deemed to be assaultive, an escape risk, or high profile due
to the nature of the charges or the inmate's community status. (Ex. 27 at 5-6
[Tarrant County Jail Risk Policy].) Any time a "High Risk" inmate leaves their
cell, they are placed in handcuffs and leg irons and accompanied by two officers.
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                                      App. 0062
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    Case 4:16-cv-00133-O Document 13 Filed 02/04/17     Page 66 of 83 PageID 239



(Ex. 27 at 6 [Tarrant County Risk Policy]; Ex. 20 at ,-r3 [Aff. ofRigmaiden].) Low
risk inmates are not restrained outside their cells and are only accompanied by one
officer. (Ex. 20 at ,-r4 [Aff. ofRigmaiden]; Ex. 4 at ,-r6 [Aff. of Cody Bell].) Low
risk inmates are functionally equivalent to a general population inmate in a state
prison setting. (Ex. 20 at ,-r4 [Aff. ofRigmaiden].)
       Hummel was not categorized as a "High Risk" inmate during his
incarceration at Tarrant County jail. Detention Officer Tommy Rigmaiden, of the
Tarrant County Sheriffs Office, remembers Hummel wore a green suit for the
period of time before and during his trial. 3 (Ex. 20 at ~5 [Aff. of Rigmaiden].)
Tarrant County Sheriffs Officer Cody Bell also would have testified that, as a low
profile and low risk inmate, Hummel wore a green suit. (Ex. 4 at ,-r6 [Aff. of
Bell].)
       Tarrant County Sheriffs officers also would have testified that Hummel was
quiet and respectful in his interactions with jail staff.   Officer Rigmaiden saw
Hummel in the jail every day for a two-year period, remembering him as "quiet
and reserved." (Ex. 20 at ,-r6 [Aff. ofRigmaiden].) Officer Bell reported that every
time he interacted with Hummel, Hummel was pleasant and outgoing. (Ex. 4 at ,-r3
[Aff. of Bell].) Hummel and Officer Bell shared a more personal connection, as
they both had served in the military. Jd. Occasionally the two would talk about
their experiences in boot camp, and the mental and physical rigors of military
service. Id. Tarrant County Sheriffs Officer Rory Thomas would have testified
that Hummel was quiet, speaking only to the officers when he needed something
and otherwise would not bother anyone. (Ex. 21 at ,-r4 [Aff. of Rory Thomas].)



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   In Tarrant County, after an imnate receives a death sentence, they are
automatically classified as "High Risk" regardless of prior classification. (Ex. 27
at 6 [Tarrant County Risk Policy].)
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                                     App. 0063
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     Case 4:16-cv-00133-O Document 13 Filed 02/04/17            Page 67 of 83 PageID 240



          Most importantly, officers from the Tarrant County jail would have testified
that Hummel was never a threat to officers, jail staff, or other inmates. Hummel
never gave officers any problems or trouble and was very compliant with the jail
rules, as evidenced by Hummel's lack of any disciplinary infractions during his
pretrial and trial incarceration in Tarrant County. (Ex. 4 at ~4 [Aff. of Bell]; Ex. 20
at   ~8   [Aff. of Rigmaiden]; Ex. 21 at       ~3   [Aff. of Thomas]; Ex. 28 at 2 [Tarrant
County Sheriffs Office Letter].)           Hummel was not assaultive or aggressive
towards officers or other inmates, and he got along well with other inmates. (Ex. 4
at   ~~4,   7 [Aff. of Bell]; Ex. 20 at   ~9   [Aff. of Rigmaiden]; Ex. 21 at   ~5   [Aff. of
Thomas].) Several officers would have testified that they believed there was no
danger that Hummel would be violent in prison in the future, and that he would
have adjusted well to a general population setting in prison. (Ex. 4 at         ~8   [Aff. of
Bell]; Ex. 20 at ~9 [Aff. ofRigmaiden].)
          This testimony would have provided the jury with highly persuasive
evidence that Hummel was not likely to be a future danger if sentenced to a term of
life without the possibility of parole. Hummel had no history of violent or criminal
actions prior to this crime, and similarly had no disciplinary problems while in jail
custody awaiting his trial. In making the claim that Hummel was a future danger,
the State argued that if he could kill his family, he could do anything if given the
chance in prison. (See 45 RR at 86.) However, this assertion is contradicted by the
two years Hummel spent in a general population jail setting. Classified as a low
risk inmate, Hummel was subject to less stringent security controls and had greater
access to other inmates. Yet, in two years of custody, Hummel did not have a
single disciplinary infraction and was described as "a model inmate," never
behaving aggressively or engaging in assaultive behavior. There is a reasonable
probability that, with this testimony, Hummel's jury would have voted "No" to the
first special issue resulting in a life sentence.
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  Case 4:16-cv-00133-O Document 13 Filed 02/04/17


     2. Mental Health Expert
                                                           Page 68 of 83 PageID 241




          Because expe11 witness testimony is one of the most powerful tools an
attorney can use to present their case, trial counsel should have presented a mental
health expert to explain how Hummel's past patterns of behavior and mental status
did not support a finding that he would be a future danger. See Coble, 330 S.W.3d
at 268. Had trial counsel retained such an expert, such as Dr. Susan Hardesty (see
Claim Seven, post), the following testimony could have been presented.
          There are several factors to indicate that there is a low risk of Hummel
committing future acts of violence in a prison setting. Hummel did not have a
significant history of violence prior to the crime, and his coping mechanism for
significant stressors was passive acceptance, denial, and retreat into fantasy games,
movies or books. In a prison setting, Hummel would be unlikely to encounter the
severe stressors that plagued him prior to the crime, namely familial and financial
stress.     For the rest of his life, Hummel would be in a contained, restricted
environment in which his primary needs would be met, but he would not encounter
relational and attachment issues. (Ex. 1 at ~59 [Aff. ofDr. Hardesty].)
          Testimony from an expert would have provided particularly credible
evidence to the jury regarding Hummel's likelihood of future acts of violence.
Griffith v. State, 983 S.W.2d 282, 288 (Tex. Crim. App. 1998) ("An appellant's
potential for being a future danger is a question of fact which the jury must answer.
Furthermore, this Court has previously recognized that testimony from mental
health experts is relevant to that issue." (internal citation omitted)). Trial counsel's
failure to provide such testimony to the jury prejudiced Hummel's trial.
   C. Conclusion
          If jurors had heard testimony from the three TaiTant County sheriffs officers
and an expert witness, as discussed above, there is a reasonable probability that at
least one juror would not have found Hummel to be a future danger. Testimony

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                                       App. 0065
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  Case 4:16-cv-00133-O Document 13 Filed 02/04/17
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                                                         Page 69 of 83 PageID 242


from officers who personally supervised Hummel during his time in jail would
have been highly persuasive.       Moreover, testimony from an expert witness
explaining why Hummel's personality, behavior patterns and mental health made it
unlikely Hummel would be a future danger would have been invaluable in
convincing a jury to vote "No" on the first special issue.
       Trial counsel's failure to present testimony from corrections officers and a
mental health expert constituted deficient performance that was not reasonable
under prevailing professional norms. See Williams, 529 U.S. at 395-96 (counsel
ineffective for failing to uncover and present evidence of, inter alia, defendant's
good conduct in prison); ABA Guidelines, Guideline 10.11 (commentary) (citing
Skipper v. South Carolina, 476 U.S. 1, 4-5 (1986) as holding that "evidence of
defendant's positive adaptation to prison is relevant and admissible mitigating
evidence even though it does 'not relate specifically to petitioner's culpability for
the crime he committed."'). Because there is a reasonable probability that at least
one juror would have found the information presented through these witnesses
negated the State's theory that Hummel would present a continuing threat to
society, Hummel is entitled to a new punishment phase. See Wiggins, 539 U.S. at
536.
                                  CLAIM FOUR
    TRIAL COUNSEL WAS INEFFECTIVE IN FAILING TO PRESENT
    EXPERT TESTIMONY REGARDING HUMMEL'S LIFE HISTORY

       During the punishment phase, trial counsel presented testimony from lay
witnesses about Hummel's childhood in South Carolina. As discovered in post-
conviction investigation, trial counsel could and should have presented a complete
narrative of Hummel's life, including testimony from lay witnesses about other
periods in Hummel's life. (See Claim Five, post.) Further, however, trial counsel
failed to present an expert witness to explain the full natTative of Hummel's life

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                                     App. 0066
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  Case 4:16-cv-00133-O Document 13 Filed 02/04/17         Page 70 of 83 PageID 243


story. Such an expert could have drawn connections for the jury between the life
events Hummel experienced and the behaviors he later exhibited.                 Under
applicable professional norms for capital counsel, trial counsel's failure to hire
such an expert constitutes deficient performance. See Strickland, 466 U.S. at 688;
ABA Guidelines, Guideline 10.11(F)(2) (retaining a social historian can facilitate
compliance with the requirement in the ABA Guidelines of presenting "insights
into the client's mental and/or emotional state and life history that may explain or
lessen the client's culpability."); see also ABA Supplementary Guidelines for the
Mitigation Function of Defense Team in Death Penalty Cases, Guideline 10.11, 36
HOFSTRA L. REv. 677, 689-90 (2008) (hereinafter "ABA Supplementary
Guidelines").     This failure prejudiced Hummel's applicable state and federal
Constitutional rights, state statutory law, and United States Supreme Court and
state case law.
   A. Legal Standard
      Since Wiggins v. Smith, defense attorneys in capital cases have been on
notice as to the necessity of performing a wide-ranging investigation into their
client's life history.   539 U.S. at 510. Defense attorneys now regularly retain
mitigation specialists as part of the defense team, who review records and meet
with witnesses, gathering and weaving the bare facts of the client's life into a
compelling narrative. ABA Guidelines, Guideline 10.7 (commentary) (noting that
a "penalty phase preparation requires extensive and generally unparalleled
investigation into personal and family history"); ABA Supplementary Guidelines,
Guideline 10.4(A) ("It is the duty of counsel to lead the team in conducting an
exhaustive investigation into the life history of the client. It is therefore incumbent
upon the defense to interview all relevant persons and obtain all relevant records
and documents that enable the defense to develop and implement an effective
defense strategy.").
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                                     App. 0067
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   Case 4:16-cv-00133-O Document 13 Filed 02/04/17         Page 71 of 83 PageID 244


       However, it is not enough to simply gather the facts of a defendant's life
story and then present it through lay witness testimony. An expert should also be
retained to synthesize that information into a coherent psycho-social narrative for
presentation to the jury. See ABA Guidelines, Guideline 10.11 (commentary)
(noting the importance of presenting "the client's complete social history" at
punishment); see also ABA Supplementary Guidelines, Guideline 10.11. Such an
expert then uses their particularized expertise relevant to the defendant to present
the social history developed by a mitigation specialist in a cohesive narrative. John
Blume, Mental Health Issues in Criminal Cases: The Elements of a Competent and
Reliable Mental Health Examination, 17 THE ADVOCATE 4, 10 (Aug. 1995)
("[P]ersuasive expert testimony must ... enable the jury to see the world from
your client's perspective, i.e., to appreciate his subjective experience.").
       Like any subject matter that warrants an expert opinion, here, the
defendant's life story must be explained to the jury in a way that illuminates why it
is relevant to moral culpability. It is not sufficient to present a parade of witnesses
discussing the defendant's history-an expert must also be hired to give that life
history context .
       . . . In other words, you have to give the fact-finder a view of the
       crime from the defendant's perspective. If you don't, you run the risk
       of making your client seem "otherly," frightening and thus
       expendable. What you strive for is to enable the fact- finder to look
       through your client's eyes and to walk, at least for a few minutes, in
       his shoes.

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  Case 4:16-cv-00133-O Document 13 Filed 02/04/17
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                                                        Page 72 of 83 PageID 245


   B. Counsel Should Have Presented the Testimony of an Expert to Explain
      Hummel's Social History
      In Hummel's case, trial counsel were clearly aware of the importance of
utilizing expert witness testimony, as they presented an expert to speak to
Hummel's mental health (but see Claim Seven, post), as well as an expert to
discuss the prison classification system. (See 44 RR at 34-116.) Had counsel
similarly performed a sufficient investigation and presentation of Hummel's social
history, they would have been able to retain the services of a social history expert
witness, such as .social worker Laura Smith.
      Ms. Smith received her Masters of Science in Social Work from the
University of Texas at Austin and is currently employed by the Travis County
Health and Human Services division. In her position she supervises a team of
social workers who provide support services to families at various community
centers operated by Travis County. She has over a decade of experience providing
counseling and care to incarcerated individuals and their families, as well as to at-
risk youths.   She holds an Advanced Practitioner license from the Texas State
Board of Social Worker Examiners and is an adjunct faculty member at the
University of Texas at Austin. (Ex. 2 at ~~1-3 [Aff. of Laura Smith].)
      If Ms. Smith had been consulted by Hummel's trial counsel, she could have
provided an explanation to the jury of how Hummel's life history shaped the
person he became later in life. As Ms. Smith explains, "All of us are a product of
our life experiences and social history. To understand how a person comes to take
certain actions in life, one must look at what elements of his life were brought to
bear on that decision. Often what appear to be unexplainable, irrational actions can
be traced to life events that occurred in the person's past." (Ex. 2 at   ~8   [Aff. of
Laura Smith].)



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                                    App. 0069
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17       Page 73 of 83 PageID 246



      Particularly, after rev1ewmg testimony and affidavits provided by those
closest to Hummel, as well as his various medical, educational, and military
records, Ms. Smith would have explained how Hummel's early development
started him down a path resulting in Hummel being "nearly incapable of forming
close and intimate relationships" and "leading to a total inability to manage
multiple stressors such as loss of income, multiple medical illnesses, and emotional
stress/fatigue." (Ex. 2 at ,-r9 [Aff. of Laura Smith].) Beyond merely a medical
diagnosis that portrayed Hummel as having negative and dangerous traits (see
Claim Seven, post), the jury would have learned the following about Hummel's
development as a child and how the resulting impairments rose to the surface
throughout his life.
     1. Childhood
      a. Early Childhood Development
      Hummel's parents did not provide a stable, supportive environment m
Hummel's early childhood. His father was abusive and overly obsessed with guns
and violence. His mother was also not a nurturing figure, showing greater interest
in her own life and friends, rather than her children. Hummel lacked much of the
love and concern one would expect from parental figures. To a large degree, he
was cared for and raised by his sister, who was only nine years older than he.
However, as a child herself, Neata was incapable of providing for the physical and
emotional needs of a baby. (Ex. 2 at ,-r,-ri0-13 [Aff. of Laura Smith].) The lack of
this nurturing was fundamentally damaging to Hummel's development as a person.
Ms. Smith notes:
      Erik Erikson's widely accepted theory of "identity development"
      posits that there are eight stages an individual goes through during
      their development. At each stage, there is a critical conflict, which
      requires a healthy resolution to create a. new quality in self. For
      example, at infancy, the crisis is trust versus mistrust. A baby cries
      and, if its needs are attended to and it is nurtured, the baby leaves the
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                                    App. 0070
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  Case 4:16-cv-00133-O Document 13 Filed 02/04/17
                                                                  •
                                                             Page 74 of 83 PageID 247



       stage of infancy having developed a sense of trust in its caregivers and
       in the world. If the baby is neglected, or needs are ignored, the baby
       moves into toddlerhood with a sense of fear and mistrust of caregivers
       and the world at large. Erikson's research suggests that trust and
       identity formation are the key ingredients to a healthy development of
       self and identity.
(!d. at 'if8.)   In Hummel's case, he did not experience the attachments to his
parental figures that would have allowed him to form feelings of trust and a secure
self and identity. Hummel's uncle, another substitute caregiver in his early life,
witnessed Hummel's lack of social development. Hummel appeared to be afraid to
interact with others and afraid of failing in front of people. Empirical evidence
shows "that children who do not securely attach with an adult early in their social
development grow up to experience attachment problems in adulthood, especially
an extreme sensitivity to rejection." (!d. at 'jf'jf17-18, 21.)
       The consistent theme heard from family and friends who knew the Hummels
was that the household lacked the normal displays of affection and love.
Underneath the family's fa<;ade of normalcy was an apparent lack of care and
concern for Hummel and his sister. Hummel's "needs were not consistently met,
and ... [a]ppropriate caring relationships were not modeled." Attachment theory
states that infants "grieve and mourn when an appropriate maternal attachment is
not formed." The lack of parental care, replaced by substitute caregivers, meant
that Hummel lacked a '"blueprint' for how to create intimacy and close
relationships." Hummel, therefore, "never formed appropriate love relationships·
or became capable of adult attachments," deficits which had "serious impacts on
his ability to fonn relationships throughout the rest of his life and his ability to
relate and empathize with others." (Ex. 2 at 'jf'jf18-23 [Aff. ofLaura Smith].)
       Moreover, Hummel's exposure to abuse further impaired his development
and put him at risk for serious psychiatric disorders. In addition to impacting brain


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                                       App. 0071
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  Case 4:16-cv-00133-O Document 13 Filed 02/04/17
                                                           •
                                                         Page 75 of 83 PageID 248



development physically, studies show that "80% of adults who had been physically
abused as children met the diagnostic criteria for at least one psychiatric disorder
by age 21." Such disorders include depression and posttraumatic stress disorder.
Also, "[a] child's exposure to overly mature sexual content or a child's direct
experience with sexual abuse can interrupt attachment patterns as well as create
disturbances in the creation of a true identity or sense of self. ... According to a
National Institute of Justice study, abused and neglected children were 11 times
more likely to be arrested for criminal behavior as a juvenile, 2. 7 times more likely
to be arrested for violent and criminal behavior as an adult, and 3.1 times more
likely to be arrested for one of many forms of violent crime." (Ex. 2 at     ~~30-31

[Aff. ofLaura Smith].)
      b. Formative Years- Child to Young Adult
      As he grew up, Hummel's developmental impairments frustrated his ability
to attach to others. He physically isolated himself from others and did his best to
avoid attention.   Despite his efforts, he was frequently teased and bullied by
classmates. Because of a learning disability, he struggled to do well in school.
When he did make friends, Hummel had trouble appropriately interacting with his
peers. He would interrupt conversations with random, immature comments and
believe comments he made were funny even if no one else understood them. (Ex.
2 at ~~32-40 [Aff. ofLaura Smith].)
      "Because [Hummel] never formed secure attachments, he also never formed
a solid sense of self.     Identity is built around emotional development and
relationships with others."       Based on Erikson's theory of psychosocial
development, from age six to eleven Hummel should have been negotiating a crisis
of "Industry versus Inferiority." "If a child succeeds academically, feels competent
and supported, they exit this stage in a state of Industry."       Instead, Hummel,


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                                     App. 0072
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17
                                                          •
                                                        Page 76 of 83 PageID 249



"entered pre-adolescence in a state of total inferiority without social supports or
parental love and connection." (Ex. 2 at ~43 [Aff. ofLaura Smith].)
      These deficits compounded as Hummel entered his teenage years. "A young
person successfully navigates adolescence by establishing an identity-defined by
individuation and unique qualities, but also by connection to groups and
associations with others-therefore entering adulthood with a solid sense of self. A
young person not completing this stage successfully ... enters adulthood confused,
extremely sensitive to rejection, and with a weak or non-existent sense of self."
Hummel's inability to attach appropriately to others and his feelings of inferiority
led him to be easily influenced by his peers. Friends were able to manipulate
Hummel and take advantage of a clear desire on his part to have more meaningful
relationships. As a result of Hummel's eagerness to please others, his peers came
to have "widely disparate impressions" of him. Hummel himself failed to develop
a clear sense of his own identity. (Ex. 2 at ~~41-42, 44-45 [Aff. of Laura Smith].)
      Although Hummel "instinctually kept trying to reach out and connect," all
he received in return was "continuous abuse, negleCt, bullying, or confusion." This
desire to connect but inability to succeed was likely "extremely frustrating" and
"potentially rage building." (Ex. 2 at ~46 [Aff. of Laura Smith].)
      c. Teenage Years
      Leading into Hummel's teen years, this lack of attachment and absence of
clear identity led Hummel to seek alternate fulfillment and means of escape from
his reality. Hummel became absorbed with movies, video games, and especially
role-playing games like Dungeons and Dragons. In these games, Hummel created
characters that had special abilities and who could interact with other fictional
characters. (Ex. 2 at ~~47-48 [Aff. of Laura Smith].)
      However, Hummel exhibited his psychological impairments in the way he
played these games. While most players would create one character at a time,
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                                    App. 0073
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  Case 4:16-cv-00133-O Document 13 Filed 02/04/17
                                                         •
                                                       Page 77 of 83 PageID 250


Hummel had several. Hummel would constantly change aspects of his characters,
mimicking the attributes of his friends' characters.         Hummel would also
consistently be forced to abandon his characters and create new ones because his
characters had become too complex for his own abilities to play them. (Ex. 2 at
~~49-50    [Aff. ofLaura Smith].)
      Hummel's reliance on these games for escape meant that he had difficulty
putting the games down, often attempting to play when his friends wanted a break
or at inappropriate times. He would also reminisce afterwards about games they
had played. Hummel did not seem to always know the line between reality and
fantasy. (Ex. 2 ~~51-52 [Aff. ofLaura Smith].)
      This blurring of reality and fantasy came to bear on the one significant
romantic relationship Hummel experienced during high school.           Before ever
having a date, Hummel told a girl he loved her. Hummel became overly attached
both to her and her family, spending weekends and holidays with them. Yet, as his
girlfriend began to pull away, Hummel continued to believe they would stay
together and ultimately get married. When the girlfriend ended the relationship,
Hummel was completely surprised and hurt. (Ex. 2 at        ~~53-55   [Aff. of Laura
Smith].)
      As Hummel ended his young adult years, graduating from high school and
entering the adult world, he was left with "feelings of rejection and failure and an
urge to escape." These feelings "only further served to limit his social skills and
keep him disconnected from others." The impacts of the psychological
impairments Hummel experienced as he grew up became a "self-fulfilling
prophecy-his fears of not being able to connect and therefore being rejected, led
to his odd behavior, bullying, and a further and further sense of isolation." (Ex. 2
at ~56 [Aff. of Laura Smith].)


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                                    App. 0074
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17        Page 78 of 83 PageID 251


     2. Adulthood
       Hummel's ·entrance into the adult world brought with it all the feelings of
isolation, rejection, and failure he had experienced as a child, but with the addition
of a new found responsibility to react to those feelings. At first, Hummel enjoyed
a brief success-living in his own apartment with a steady job at a music
company's warehouse. However, Hummel struggled to live independently and pay
his bills. When his apartment was broken into, his parents insisted that he return
back home to live with them. (Ex. 2 at ,-r,-rs7-59 [Aff. of Laura Smith].)
      Rather than return to his parents, however, Hummel. chose what his friends
saw as an impulsive and surprising alternative, joining the United States Marine
Corps. Leaving his family and friends behind, Hummel essentially "wiped the
board clean" of his life and escaped to a completely new identity as a Marine. This
action completed the cycle that would become a fixture in Hummel's adult life: a
brief period of success followed by a recurrence of his childhood feelings of
failure, rejection, and a desire to escape, to which Hummel would react by
impulsively and dramatically fleeing from the source of these feelings. (Ex. 2 at
,-r,-r6o, 114 [Aff. ofLaura Smith].)
      a. Military Service
      Upon entering the military, Hummel initially thrived both in his duties and
in his personal connections.      He was based in Oceanside, California, and was
selected for the intelligence division, where he worked on strategy and planning
war games. He made three close friends, with whom he spent most of his days and
weekends. Hummel formed a new identity with these other men, adopting their
mannerisms, dress, and even tattoos. His friends noted how, like them, he seemed
to be starting a new life in the military. And when on leave and back in South
Carolina, his friends there saw a change in Hummel, who was more physically fit,
happy, and proud. (Ex. 2 at ,-r,-r61-65, 70 [Aff. ofLaura Smith].)

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                                       App. 0075
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17          Page 79 of 83 PageID 252


        However, Hummel carried with him to the military his interest in fantasy
games and problems separating reality from fiction. Through his new friends, he
began frequenting strip clubs. His friends remember Hummel spending his free
time at the clubs, getting to know th~ staff and strippers, and even acting as though
he had personal relationships with the women. And in his intelligence duties, he
was given sensitive information and made maps and plans that reminded him of his
role-playing games. Even to outside observers Hummel appeared to be dodging
real life. (Ex. 2 at ~~66-68 [Aff. ofLaura Smith].)
        Consistent with his life pattern, Hummel's success in the military began to
decline and was replaced by rejection, failure, and isolation. Over time, Hummel
had gained significant weight and was less physically fit. In the Marines, this both
made him the target of ridicule and prevented his promotion. Then, in the early
part of 2000, Hummel's three friends were transferred or discharged from the
                                                      ',


military. This meant that he lost his closest friends and the support network they
created for him. As Hummel struggled to adapt to this loss, his feelings of failure
returned. He briefly went absent without leave ("AWOL") and, though he returned
to the base, he was stripped of his security clearance and lost his intelligence job.
(Ex. 2 at ~~72-78 [Aff. of Laura Smith].)
        The loss of Hummel's friends was significant, "especially since he had
struggled so much to form any meaningful relationships at all and had finally felt
he was competent and successful, proud and happy-only to have it all start to
unravel." The loss was "compounded to an even greater degree as [Hummel] lost
his intelligence job and security clearance, knew his superiors were disappointed in
him and felt they could not trust him, and was relegated to mundane work."
Hummel finished his military service having lost the sense of pride he once felt
and instead again "feeling a very strong sense of rejection and failure." (Ex. 2 at
~~77,   79, 83 [Aff. ofLaura Smith].)
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                                        App. 0076
  Case 4:16-cv-00133-O Document 13 Filed 02/04/17       Page 80 of 83 PageID 253


      b. Return to South Carolina
      As he was leaving the military, Hummel met a group of homeless youth in
his trips to strip clubs. Again attempting to form connections, Hummel would buy
these individuals food and hotel rooms to sleep in. He began a relationship with
one young woman name Letti Ulbright, who was pregnant.              When Hummel
returned to South Carolina and was discharged, he took Letti with him and started
a new identity. "They were like a family" and this "represented a new life for
[Hummel], a new chance at success." Hummel was now "in the role of 'man of
the house' and trying to do the right thing by a woman in need,.even though he was
not the baby's father." It was "another attempt by [Hummel] at connection and an
effort at being in the role he thought he was supposed to have." (Ex. 2 at   ~~80-85

[Aff. ofLaura Smith].)
      However, once again Hummel's brief success turned to failure and his
"attachments and relationships were severed."         After Ulbright gave birth,
Hummel's sister Neata orchestrated sending Ulbright back to California,
supposedly because Ulbright was not good for Hummel. "Neata's involvement in
orchestrating [Ulbright]'s departure shows her role as more of a maternal than
sibling figure to [Hummel], and also demonstrates an over-involvement and
inappropriate role with [Hummel].      The episode would have further cemented
[Hummel]' s negative experience with family attachments, creating hostility and
sensitivity. It also continued a pattern that led [Hummel] to desire escape from his
cunent life situation." (Ex. 2 ~87 [Aff. ofLaura Smith].)
      In the absence of Ulbright, Hummel drifted, looking for a way to escape. He
took temporary jobs, continued visiting strip clubs, and began drinking and
smoking heavily.    His high school friends noted how Hummel acted like the
strippers were his girlfriends and that he seemed to be living in a fantasy world.
Hummel stopped hanging out with his friends and eventually moved to Texas
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                                    App. 0077
    Case 4:16-cv-00133-O Document 13 Filed 02/04/17        Page 81 of 83 PageID 254


without telling many people where he was going. (Ex. 2 at ,-r,-r88-96 [Aff. of Laura
Smith.])
       By this point in Hummel's adult life, Erickson's theory of development
would suggest he was struggling with the crisis of Intimacy versus Isolation.
Hummel's inability to form real, lasting relationships drove him further into
isolation.   "Once again, when faced with failure and his own inability to live
independently in relationship to others, [Hummel] 'wiped the board clean,'
abandoning all his friendships and moving away unexpectedly. This impulsive
conduct fell squarely within the patterns of behavior [Hummel] had developed over
the course of his life whereby he reacted to stress by escaping and attempting to
start a new life, a new identity, functionally a 'new game."' (Ex. 2 at ,-r97 [Aff. of
Laura Smith].)
       c. Texas
       Shortly after movmg to Texas, Hummel began a relationship with Joy
Bedford. The relationship moved quickly, with Joy becoming pregnant and the
couple marrying only a few months into the relationship. Hummel got a job at a
clothing manufacturer's warehouse and his daughter Jodi was born less than a year
after he had moved to Texas. Despite the rapidity with which Hummel adopted his
new life as father and husband, Hummel experienced one of his longest episodes of
success over the next year. (Ex. 2 at ,-r,-r98-99 [Aff. of Laura Smith].)
       However, like all prior episodes of success, this too began to crumble.
While working at the warehouse, Hummel tripped over a box and injured his back,
requiring multiple surgeries. Over the next several years, Hummel was unable to
work, suffering severe back pain, a diagnosis of Crohn's disease4 , and multiple

4
  Chron' s disease is "a type of inflammatory bowel disease that causes intense
abdominal pain, chronic dianhea, rectal bleeding, and vomiting. John's case was
severe enough to wanant surgery: an upper duodenal resection. The surgery
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                                      App. 0078
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  Case 4:16-cv-00133-O Document 13 Filed 02/04/17        Page 82 of 83 PageID 255


medical procedures. Hummel's family suffered financially. They depended on
help from friends and eventually moved into Joy's father's house.         Hummel's
marriage soured, with Hummel again feeling like a failure as he received pressure
from his wife and father-in-law to provide for his family. Although Hummel was
eventually able to return to work after four years of severe medical problems, the
work was menial and did little to improve his family's financial situation. (Ex. 2 at
~~99-105   [Aff. ofLaura Smith].)
      Again Hummel fixated on a desire to escape. He briefly entered a romantic
relationship with Krlsti Freeze, a clerk he met at a convenience store. Like his
previous romantic relationships, though, Hummel believed the relationship was
serious just as Freeze was ending the relationship.       Their relationship, which
Hummel perceived as an escape from his real life, ended shortly before the crime.
Following the crime, Hummel took a further act of disconnection and escape,
driving back to California, the place he had experienced his closest connections
and greatest success. (Ex. 2 at ~~106-10 [Aff. ofLaura Smith].)
   C. The Failure to Present an Expert to Explain Hummel's Social History
      Prejudiced His Trial
      Trial counsel's failure to present the testimony of an expert witness like
Laura Smith prejudiced Hummel's capital trial by failing to explain to the jury why
his life story mitigated his actions. At the heart of the punishment phase of a
capital trial is the presentation of mitigation evidence and the concept of moral
culpability. Moral culpability acknowledges an elementary psychological reality-


involved removing a part of the bowel and reconnecting the remaining pieces.
This type of surgery is debilitating due to the fact that there is a period when one
cannot eat and then a slow advancing of diet. Typically, a single abdominal
surgery of this kind requires a minimum of six months of recovery time to return to
full functioning. Multiple surgeries take proportionately longer for a person to feel
fully well." (Ex. 1 at ~30 [Aff. ofDr. Hardesty].)
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                                    App. 0079
   Case 4:16-cv-00133-O Document 13 Filed 02/04/17         Page 83 of 83 PageID 256


 that people do not arrive at their choices from the same path. Thus, it follows that
 the degree of "blameworthiness" of an individual for capital murder may vary
 depending on what factors and experiences shape, influence, and/or compromise
 that choice. Indeed, mitigating evidence is any evidence that "might serve 'as a
 basis for a sentence less than death."'        Tennard v. Dretke, 542 U.S. 274, 287
 (2004) (quoting Skipper v. South Carolina, 476 U.S. 1, 5 (1986)) (emphasis
 added).   Thus, a jury's understanding of the evidence impacting the moral
 culpability of a defendant is critical to a jury's consideration of the appropriate
 punishment for a capital offense. Jeff Blum, Investigation in a Capital Case:
 Telling the Client's Story, THE CHAMPION (Aug. 1985) ("[E]xplain to the jury how
. a child who was born into this world innocent developed into the person who
 committed this terrible crime.").
       Had Ms. Smith testified, the jury would have learned that "Hummel's life
 has been deeply impaired by the lack of appropriate nurturing and attachment he
 experienced as a child." In Ms. Smith's opinion:
       This lack of attachment impacted the way [Hummel] relates to the
       world and how he acts in it. As a child [Hummel] spent most of his
       time isolated and alone, and was neglected emotionally by his parents,
       thereby making it nearly impossible to learn how to form relationships
       with other people, outside of fantasy games. As a result, [Hummel] is
       unable to solve problems in real life versus escaping to fantasy. He
       has a tendency to run away or disappear when things get difficult,
       without a clear understanding of what the consequences might be for
       those actions.
 (Ex. 2 at 'if'iflll-12 [Aff. of Laura Smith].) Hummel's experiences in joining the
 military, during his military service, his relationships in South Carolina, his move
 to Texas, and his life in Texas illustrate the pattern Hummel's life took: brief
 success, then failure, and, because he cannot cope or adapt to his problems, an
 overwhelming desire to escape. (Ex. 2 at 'if'ifl13-14 [Aff. ofLaura Smith].)


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                                     App. 0080
